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                      6   Attorneys for Plaintiffs
                      7
                                                UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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                     10
         ro -           DOWNEY SURGICAL CLINIC, INC.,                CASE NO. CV 09-05457 PSG (CTx)
oztO01"-
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                     11 TARZANA SURGERY CENTER,
   N -
_-,to                   INC., For Themselves And On Behalf
   I" to                                                             AMENDED CLASS ACTION
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                     12 Of All Others Similarly Situated,
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:LUlOl(")                                                            COMPLAINT AND DEMAND FOR
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                     13                Plaintiffs,                   JURY TRIAL
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   woll.
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                     14         vs.
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zr u -               15 INGENIX, INC., UNITEDHEALTH
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   • I-- ..J to
                          GROUP, INC., UNITED
O::zwto
Wwtc!-               16 HEALTHCARE SERVICES, INC.,
I1.UZo
OtO«;;j                   UNITED HEALTHCARE
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::c ro 0 ..          17 INSURANCE COMPANY, For
    -..J ..J
            W             Themselves; ALLIED HOLDINGS
            I--
                     18 EMPLOYEE WELFARE BENEFIT
                          PLAN, ALLIED HOLDINGS, INC.,
                     19 BEST BUY FLEXIBLE BENEFITS
                          PLAN, BEST BUY CO., INC.,
                     20 CINGULAR WIRELESS MEDICAL
                          PLAN, AT&T MOBILITY LLC,
                     21   PACIFIC TELESIS GROUP HEALTH
                          CARE NETWORK PLAN, AT&T
                     22   MEDICAL EXPENSE PLAN, AT&T
                          CORP., CINTAS CORPORATION
                     23   EMPLOYEE HEALTH BENEFIT
                          PLAN, CINTAS CORPORATION
                     24   GROUP INSURANCE PLAN,
                          CINTAS CORPORATION, GE LIFE
                     25   DISABILITY AND MEDICAL PLAN,
                          GENERAL ELECTRIC COMPANY
                     26   J.C. PENNEY CORPORATION, INC.
                          HEALTH & WELFARE BENEFITS
                     27   PLAN, J.C. PENNEY
                          CORPORATION, INC. BENEFITS
                     28

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             1 PARKER HANNIFIN
               CORPORATION GROUP
             2 INSURANCE PLAN, PARKER
               HANNIFIN CORPORATION, ZALE
             3 CORPORATION BENEFITS PLAN,
               ZALE CORPORATION, For
             4 Themselves And On Behalf Of All
               Others Similarly Situated; DOES 1-10,
             5
                           Defendants.
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                        1         Plaintiffs Downey Surgical Clinic, Inc. ("Downey") and Tarzana Surgery
                        2   Center, Inc. ("Tarzana") bring this action on behalf of themselves and all other
                        3 similarly situated out-of-network Ambulatory Surgery Centers ("ASCs") in the

                        4   United States, against defendants UnitedHealth Group, United HealthCare Services,
                        5   United Healthcare Insurance Company, and Ingenix, Inc. (collectively "United"),
                        6   and against the ERISA plans and plan administrators who contracted with United to
                        7 price claims for ASCs:
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                        9         1.     Downey and Tarzana (collectively "Plaintiffs") file this class action on
                       10 behalf of themselves and all those similarly situated "out-of-network" ASCs" in the

         ro    -       11   United States of America (the "Plaintiff Class") whose claims have been
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_-,111                 12 systematically under-priced by United. The claims are submitted by the Plaintiff
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:;EUlOlC')             13   Class to United for pricing and payment according to a payment rate that in the
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                       14 industry and in plan documents is commonly referred to as the "Usual, Customary
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b~~:                   15 and Reasonable" rate, the "Reasonable and Customary" amount, the "Usual and
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                       16 Customary" amount, the "Reasonable Charge," the "Prevailing Rate," the "Usual
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a..uz o                17 Fee," the "Competitive Fee," or some other similar phrase that, in the context of the
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        W              18 healthcare industry, and in the Defendants' own parlance,means essentially the
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                       19 same thing. The industry shorthand for these terms is "UCR."
                       20         2.     The UCR amount is properly determined based on a review of the
                       21 prevailing or competitive charges for similar healthcare services by similar types of
                       22 providers within the same geographical area at the time. However, for years United
                       23 has systematically failed to properly price the claims according to UCR, and has
                       24 systematically concealed this failure, through misrepresentations and concealments
                       25 about its pricing and payment methods.
                       26         3.     United prices claims for medically necessary services that the Plaintiff
                       27 Class provides to patients who are members of a variety of types of health plans,
                       28 including some that are funded by the member's employer, and some that are fully

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                      1 insured by United (hereafter, the "members"). Many of these health plans are
                      2 governed under the Employee Retirement Income Security Act ("ERISA"). These
                      3 ERISA Plans have fiduciary duties as the designated plan administrators to ensure
                      4 that out-of-network claims are properly priced and paid according to UCR. But
                      5 through their collusion with United, they have participated in the systematic under-
                      6 pricing of claims, as well as in the systematic cover-up. United and the class of
                      7 ERISA Plan defendants will be collectively referred to as the "Defendants."
                      Q
                      u         4.     United is one of the largest health insurers in the country, and each year
                      9 processes thousands of claims submitted by ASCs. United uses a variety of methods
                     10 for pricing claims from ASCs who have no contracts with United and, like the

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                     11   Plaintiff Class, are therefore considered "out-of-network." Yet, despite having
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_-,U1                12 access to a wealth of charge data, none of these methods price claims according to
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    ::JO-            13   UCR, and generally, United simply ignored the charges altogether.
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   wou.                         5.    One of United's improper pricing methods for calculating the UCR rate
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b~~:                 15 for out-of-network ASC claims is to base such calculation on contracted rates, or the
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                     16 "highest in-network rate." Plaintiffs are informed and believe that the "highest in-
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OU1<l:;;j            17 network rate" methodology was developed by Ingenix, and considers only two
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          W          18 factors: the billing code for the procedure, and a fixed, contractually-based
          f-

                     19 discounted rate that "in-network" ASCs receive for the procedure pursuant to a
                     20 negotiated discount. Defendants know that the in-network rates are lower than
                     21 charges because getting a discount off charges is a key purpose for having a
                     22 network. United then sometimes multiplies the in-network rate by an arbitrary
                    23 multiplier to arrive at the "allowed amount." Plaintiffs have not had the opportunity
                     24 to conduct discovery on whether United in fact uses a multiple of its "highest"
                    25 contracted rates under this methodology, or in how United selects the arbitrary
                    26 multipliers. In any event, it is arbitrary, capricious and improper to use contract
                    27 rates for establishing UCR reimbursement for non-contracted claims, for reasons
                    28 which will be discussed in detail below.

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                        1         6.    Another improper pricing method sometimes used by United for UCR
                        2 is a Medicare-based system that United calls the Maximum Non-Network
                        3 Reimbursement Program ("MNRP") method. According to United, MNRP creates a
                        4 maximum allowable reimbursement for out-of-network services using rates and
                        5 methodologies established by Medicare. The calculation for this methodology is
                        6 typically the Centers for Medicare and Medicaid Services (CMS) Rates multiplied
                        7 by a factor such as 1.15 or 1.25. The MNRP is similar to the "highest in-network
                        8 rate" methodology, in that it is an arbitrary, capricious and improper method for

                        9 determining UCR for out-of-network claims.
                       10         7.    United also has priced some out-of-network ASC claims for UCR using
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              (X)
                       11   what is commonly referred to as the "Ingenix Database." The Ingenix Database is
     o     i' -
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~-':'~                 12 comprised of at least two databases, the Prevailing Healthcare Charges System
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::EUlOl(f)             13   ("PHCS") and MDR databases operated by Ingenix, which are inherently flawed
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                       14 and inadequate to establish appropriate UCR amounts. The failure of the Ingenix
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b~~:                   15 Database to properly price claims according to UCR is explained in detail below.
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                       16         8.    Plaintiffs are informed and believe that United also may employ other
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o...uz o               17 methods for pricing claims which do not appropriately establish UCR.
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             W         18         9.    Regardless of method, however, there is a common thread for all of
             I-

                       19 these underpriced claims. They all were priced in a manner that did not follow the
                      20 correct or stated criteria for determining UCR.
                      21          10.   United knows that its methodologies do not actually establish a UCR
                      22 amount, and the Defendants all know that, as a consequence, the Plaintiff Class is
                      23 being systematically underpaid for their services. Nonetheless, rather than disclose
                      24 the true methodologies being used to price the claims, when reimbursing claims for
                      25 out-of-network ASC services the Defendants made representations through the
                      26 United States mail and wire services, to the ASCs and their patients, that United had
                      27 accurately and appropriately calculated the amount owed for the ASC services
                      28 according to UCR.

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             1           11.   For example, the Explanations of Benefits ("EOBs")! that United sent
             2 through the mail would typically provide:
             3                 Your plan covers reasonable charges for therapeutic
             4
                               treatment of sickness or injury. The reasonable charge is
                               based on amounts charged by other providers for similar
             5                 services or supplies. [Emphasis added.]
             6
                 Such statements are designed to conform to the plans' descriptions ofUCR
             7
                 reimbursement. They also are designated to conform to United's marketing
             8
                 statements of its out-of-network reimbursement methodology, in which United
             9
                 represents that it bases payment on what other healthcare providers in a geographic
            10
                 area charge for similar services or supplies.
            11
                         12.   As another example, in statements made through the mail and wire
            12
                 services, United sometimes represented that it had calculated the UCR rate using the
            13
                 Ingenix Database, which United purported to consist of accurate prevailing provider
            14
                 charges. In these communications made through the United States mail and wire
            15
                 services, United falsely represented to ASCs and their patients that the Ingenix
            16
                 Database contains trustworthy charge material collected from the largest health
            17
                 insurers in the country and reliable industry sources. United also makes these
            18
                 representations on its website, where it states that "in most cases" it pays the out-of-
            19
                 network claims based on the reasonable and customary amount based on the charges
            20
                 of other health care providers in the geographic area as determined using the Ingenix
            21
                 Database.
            22
                        13.    The statements United made through the mail and wire services were in
            23
                 fact false.
            24
                        14.    United made these representations, and continues to make such
            25
            26
                 1Some payors call the forms Explanations of Payment ("EOPs") or Remittance
            27
                 Advices ("RAs"). EOBs, EOPs and RAs will be collectively referred to as "EOBs."
            28

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             1   representations, both on its own behalf and on behalf of the defendant ERISA plans
             2   which contract with United to administer the plans.
             3                15.    Plaintiffs are informed and believe, and thereon allege, that the
             4   Defendant Class have at all pertinent times been aware of United's statements, and
             5 have authorized United to make statements for the ERlSA Plans.

             6                16.    As a result of the flaws and abuses concerning the Ingenix Database
             7 which have come to light in recent years, and based on United's representations that
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             9 Downey filed the class action complaint against the United Defendants on July 27,

            10 2009. That complaint alleged that the use of the Ingenix Database for determining

            11   UCR rates for out-of-network ASC claims is invalid and unlawful, and that past
            12 UCR determinations with respect to the Class should be re-calculated. While that

            13   remains true, it has since come to light that United often did not even use the
            14 Ingenix Database for most ASC claims, despite asserting that it had during the

            15 ordinary course of business.
            16                17.    Months after the initial class action complaint was filed, United
            17 represented to Plaintiffs, and to the Court, that United did not, and does not, use the

            18 Ingenix Database to reimburse claims submitted by ASCs. According to United, the

            19 representations that it made during the ordinary course of business to Plaintiffs and

            20   other ASCs, and to the members, were not true, and that Ingenix actually priced
            21   ASC claims by using the inappropriate "highest in-network rate" method. However,
            22   United's "highest in-network rate" does not take into account actual charges, nor
            23   does it compare the actual charges with charges by other ASCs for the same or
            24   similar service in the relevant geographic area. Accordingly, by using in-network
            25   rates to calculate payments for out-of-network ASC claims, United's representations
            26   on its EOBs ~ that "the reasonable charge is based on amounts charged by other
            27 providers for similar services or supplies" - were false.

            28                18.    Even later, after representing to Plaintiffs and the Court that United
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                         1   does not use the Ingenix Database to price out-of-network ASC claims, United
                         2 admitted that some out-of-network ASC claims were, in fact, paid using the Ingenix

                         3 Database. At this stage it is difficult to know which of United's conflicting

                         4   statements about using the Ingenix Database is correct. But they are all masking
                         5 that United did not actually pay based on UCR.

                         6          19.   ASCs all across the country, including Plaintiffs, have been harmed by
                         7 the Defendants' failure to properly pay for ASC services that were provided to the

                         8 Defendants' members.
                         9         20.    Defendants' failure to appropriately and fairly compensate non-
                        10 contracted claims has not only injured ASCs, it has also caused the ASC patients
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                        11   (i.e., Defendants' insureds and members) to be exposed to significant liability. In
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_-,JJ1                  12 under-pricing the claims, Defendants have represented, in EOBs and other
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           °_           13   documents sent through the United States mail, that the patients are liable to the
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         ><Z            14 ASCs for amounts that should have been covered - i.e., the amount of the claim not
    W 0 IJ.
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b~~:                    15 paid by Defendants that should have been paid by Defendants. These statements are
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 · f- ..J JJ1           16 false because, had United accurately and appropriately priced and paid the ASC
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o..uzo                  17 claims, the EOBs would show that the patients owed far lower amounts to the ASCs.
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               W        18 By systematically underpricing the claims, United and the other Defendants are
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                        19 illegally transferring liability for paying ASC claims to the patients.
                        20         21.    Plaintiffs and the Plaintiff Class are the assignees of the members. The
                        21 failure and refusal of Defendants to fairly and appropriately compensate ASCs for
                       22 their healthcare services constitutes a violation of Defendants' duties to pay the
                       23 members of the Plaintiff Class under ERISA.
                       24          22.    Defendants also have violated the Racketeer Influenced and Corrupt
                       25 Organizations Act ("RICO") in that they have committed mail fraud and wire fraud
                       26 in connection with their scheme to underpay ASCs by, among other things, using
                       27 mail and interstate wire services to send false and misleading information
                       28 concerning the Defendants' methodologies for determining UCR rates and out-of-

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             1 network reimbursements.

             2             23.                 For a subclass of California ASCs, Defendants also have committed
            3 unfair, unlawful and/or fraudulent business acts and practices in violation of

             4 California Business and Professions Code § 17200                                et seq.
             5                                              JURISDICTION AND VENUE
             6             24.                 This Court has subject matter jurisdiction over this action pursuant to
             7 28 U.S.C.                 § 1331, because the action arises under the laws of the United States;
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             9   and pursuant to 29 U.S.C. § 1332, because the action seeks to enforce rights under
            10   ERISA.
            11             25.                 This Court is the proper venue for this action pursuant to 28 U.S.C. §
            12   1391(b), and 18 U.S.C. § 1965, because a substantial part of the events or omissions
            13   giving rise to the claims alleged herein occurred in this Judicial District, and because
            14   one or more of the Defendants conducts a substantial amount of business in this
            15   Judicial District.
            16                                                      THE PARTIES
            17
                           26.                 Plaintiff Downey is, and at all relevant times mentioned herein was, a
            18
                 California corporation organized and existing under the laws of the State of
            19
                 California, with its principal place of business in Downey, California. Downey is,
            20
                 and at all relevant times mentioned herein was, an ASC providing medical and
            21
                 surgical services in Downey, California. At all relevant times mentioned herein,
            22
                 Downey was not contracted with any of the Defendants, or participating in any of
            23
                 their provider networks.
            24
                           27.                 Plaintiff Tarzana is, and at all relevant times mentioned herein was, a
            25
                 California corporation organized and existing under the laws of the State of
            26
                 California, with its principal place of business in Tarzana, California. Tarzana is,
            27
                 and at all relevant times mentioned herein was, an ASC providing medical and
            28

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                      1 surgical services in Tarzana, California. At all relevant times mentioned herein,
                      2 Tarzana was not contracted with any of the Defendants, or participating in any of
                      3 their provider networks.
                      4          28.    Plaintiffs are informed and believe that Defendant UnitedHealth Group,
                      5 Inc. ("UnitedHealth") is a Minnesota corporation with its corporate headquarters
                      6 located in Minneapolis, Minnesota. UnitedHealth is one of the largest health
                      7 carriers in the United States.
                      S2
                      v          29.    Plaintiffs are informed and believe that Defendant United HealthCare
                      9 Services, Inc. ("United HealthCare") is a Minnesota corporation with its corporate
                     10 headquarters located in Minneapolis, Minnesota. United HealthCare is wholly-

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               (l)
                     11    owned by UnitedHealth, and serves as UnitedHealth's operating division. United
(joUjC?
Z"'N-
_-lUI                12 HealthCare is licensed to conduct insurance operations in California and, on
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   ::J
~UlOl(')   °-        13    information and belief, every other State in the United States, whether it be under
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    W 0 Ll..
                     14 the name United HealthCare or some other operating name.
KJ ::.::   Ll.. •
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5~~:                 15          30.    Plaintiffs are informed and believe that Defendant Ingenix, Inc.
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                     16 ("Ingenix") is a Delaware corporation with its corporate headquarters located in
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                     17 Eden Prairie, Minnesota. Ingenix is a wholly-owned subsidiary of UnitedHealth.
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     -.J.J
             W       18 Ingenix is registered to do business in California.
             f-

                     19          31.    Plaintiffs are informed and believe that Defendant United Healthcare
                     20 Insurance Company (UHIC) is a wholly owned and controlled subsidiary of
                     21 UnitedHealth with its principal place of business in Connecticut.
                     22          32.    UnitedHealth, United HealthCare, UHIC, and Ingenix will be
                     23 collectively referred to herein as "United" or the "United Defendants."
                     24          33.    Allied Holdings, on its behalf and its subsidiaries including Axis Group
                     25 and Allied Automotive Group, Employee Welfare Benefit Plan (the "Allied Plan"),
                     26 is an ERISA plan capable of being sued under ERISA § 502(d). 29 U.S.C. §
                     27 1132(d).
                     28          34.    Plaintiffs are informed and believe that Defendant Allied Holdings Inc.

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                     1 is a Georgia corporation with its corporate headquarters located in Decatur, Georgia.
                     2 Plaintiffs are informed and believe that Allied Holdings is a plan sponsor and/or
                    3 plan administrator for the Allied Plan.
                     4        35.   Plaintiffs are informed and believe that Defendant Best Buy Flexible
                    5 enefits Plan (Best Buy Plan) is an ERISA plan capable of being sued under ERISA §
                    6 502(d). 29 U.S.C. § 1132(d).
                     7        36.   Plaintiffs are informed and believe that Defendant Best Buy Co., Inc. is
                     8

                     9 Minnesota. Plaintiffs are informed and believe that Best Buy Co., Inc. is a plan
                   10 sponsor and/or plan administrator for the Best Buy Plan.

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                    11        37.   Plaintiffs are informed and believe that Defendant Cingular Wireless
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_-,m                12 Medical Plan (the "Cingular Plan") is an ERISA plan capable of being sued under
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::EUlOlC')         13 ERISA § 502(d). 29 U.S.C. § 1132(d).
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o~z~               14         38.   Plaintiffs are informed and believe that Defendant AT&T Mobility
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6~~:                15 LLC is a Delaware corporation with its corporate headquarters located in Atlanta,
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  . I- ..J m       16 Georgia. Plaintiffs are informed and believe that AT&T Mobility is a plan sponsor
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a..uz o            17 and/or plan administrator for the Cingular Plan.
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            W       18        39.   Plaintiffs are informed and believe that Defendant Pacific Telesis
            I-
                    19 Group Health Care Network Plan (Pacific Telesis Plan) is an ERISA plan capable of
                   20 being sued under ERISA § 502(d). 29 U.S.C. § 1132(d).
                   21         40.   Plaintiffs are informed and believe that Defendant AT&T Medical
                   22 Expense Plan (AT&T Plan) is an ERISA plan capable of being sued under ERISA §
                   23 502(d). 29 U.S.C. § 1132(d).
                   24         41.   Plaintiffs are informed and believe that Defendant AT&T Corp. is a
                   25 New York corporation with its corporate headquarters located in Bedminster, New
                   26 Jersey. Plaintiffs are informed and believe that AT&T Corp. is a plan sponsor
                   27 and/or plan administrator for the Pacific Telesis Plan and AT&T Plan.
                   28         42.   Plaintiffs are informed and believe that Defendant Cintas Corporation

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                      1 Employee Health Benefit Plan (the "Cintas Health Plan") is an ERISA plan capable
                      2 of being sued under ERISA § S02(d). 29 U.S.C. § 1132(d).
                     3          43.    Plaintiffs are informed and believe that Defendant Cintas Corporation
                      4 Group Insurance Plan (the "Cintas Insurance Plan") is an ERISA plan capable of
                      5 being sued under ERISA § S02(d). 29 U.S.C. § 1132(d).
                      6         44.    Plaintiffs are informed and believe that Defendant Cintas Corporation
                      7 ("Cintas") is a Washington corporation with its corporate headquarters located in
                      Q
                      u   r-v1ason, Ohio. Plaintiffs are informed and believe that Cintas is a plan sponsor
                      9 and/or plan administrator for the Cintas Health Plan and Cintas Insurance Plan.
                    10          45.    Plaintiffs are informed and believe that Defendant GE Life, Disability

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              -co    11   and Medical Plan (the "GE Plan") is an ERISA plan capable of being sued under
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_-,to                12 ERISA § S02(d). 29 U.S.C. § 1132(d).
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:;E(/)O'l(f)        13          46.    Plaintiffs are informed and believe that Defendant General Electric
~     "       ~
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o(/)z><              14   Company ("GE") is a New York corporation with its corporate headquarters located
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b~~:                15 in Fairfield, Connecticut. Plaintiffs are informed and believe that GE is a plan
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                    16 sponsor and/or plan administrator for the GE Plan.
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o.uzo                17         47.    Plaintiffs are informed and believe that Defendant J.C. Penney
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             W      18 Corporation, Inc. Health & Welfare Benefits Plan (J.C. Penney Plan) is an ERISA
             I-


                    19 plan capable of being sued under ERISA § S02(d). 29 U.S.C. § 1132(d).
                    20          48.    Plaintiffs are informed and believe that Defendant J.C. Penney
                    21 Corporation, Inc. Benefits Administration Committee is a Delaware corporation
                    22 with its corporate headquarters located in Plan, Texas. Plaintiffs are informed and
                    23 believe that J.C. Penney Corporation, Inc. Benefits Administration Committee is a
                    24 plan sponsor and/or plan administrator for the J.C. Penney Plan.
                    25          49.    Plaintiffs are informed and believe that Defendant Parker Hannifin
                    26 Corporation Group Insurance Plan (Parker Plan) is an ERISA plan capable of being
                    27 sued under ERISA § S02(d). 29 U.S.C. § 1132(d).
                    28          50.    Plaintiffs are informed and believe that Defendant Parker Hannifin

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              1 Corporation is an Ohio corporation with its corporate headquarters located in

              2 Cleveland, Ohio. Plaintiffs are informed and believe that Parker Hannifin

              3 Corporation is a plan sponsor and/or plan administrator of the Parker Plan.

              4          51.     Plaintiffs are informed and believe that Defendant Zale Corporation
              5 Benefits Plan (Zale Plan) is an ERISA plan capable of being sued under ERISA §

              6   502(d). 29 U.S.C. § 1132(d).
              7         52.    Plaintiffs are informed and believe that Defendant Zale Corporation is a
              8 Delaware corporation with its corporate headquarters located in Irving, Texas.

              9   Plaintiffs are informed and believe that Zale Corporation is a plan sponsor and/or
             10 plan administrator of the Zale Plan.

             11         53.    The Defendants identified in paragraphs 33 through 52 are being sued
             12 both in their individual capacities and as representatives of the Defendant Class, as

            13    defined below. They will be referred to herein as the "Representative ERISA Plan
            14    Defendants."
            15          54.    The true names and capacities of the defendants sued herein as DOES
            16 are unknown to Plaintiffs at this time, and Plaintiffs therefore sue such defendants

            17 by such fictitious names. Plaintiffs are informed and believe that the DOES are

            18 those individuals, corporations and/or businesses or other entities that are also in

            19 some fashion legally responsible for the actions, events and circumstances

            20    complained of herein, and may be financially responsible to Plaintiffs for the
            21    services they have provided, as alleged herein. The Complaint will be amended to
            22    allege the DOES' true names and capacities when they have been ascertained.
            23          55.    The United Defendants, the Representative ERISA Plan Defendants,
            24    the Defendant Class and each of its members, and the DOES will be collectively
            25    referred to herein as the "Defendants."
            26                                GENERAL ALLEGATIONS
            27          The Defendants' Roles and Responsibilities With Respect To Claims
            28          56.    United is one of the nation's largest health insurers. It underwrites and
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              1 issues thousands of health insurance plans. It also contracts with other entities

              2   which provide health benefits in order to provide claim pricing and other
              3 administrative services for those entities' health plans.

              4          57.   Individuals and families who do not receive employer-sponsored health
              5 insurance often purchase health insurance policies directly from United, who

              6   typically has sole responsibility and discretion to administer and pay claims
              7   submitted under such policies.
              8         58.
              9   sponsored plans, welfare trusts and other sources. United contracts to provide
             10   claims pricing and administrative services for those plans, and makes its "network"
             11   of providers available to these plans.
            12          59.    People who receive their health insurance through a private employer-
            13    sponsored benefit plan are typically participants or beneficiaries of plans governed
            14    by ERlSA. Sometimes the ERlSA plans are fully insured by health insurers like
            15 United, and sometimes they are self-funded. In both cases, United's "network" of

            16 providers is generally available to the ERlSA plans.

            17          60.    When the ERISA plan is insured by United, United not only is
            18 responsible for administering a claim brought under the plan, but also is financially

            19 responsible for the payment of the claim. United is the Plan Administrator, and an

            20    ERISA fiduciary, for such ERlSA plans. United provides plan members with plan
            21    documents, interprets and applies the plan terms, makes coverage and benefits
            22    decisions, handles appeals of coverage and benefits decisions, and provides for
            23    payment in the form of medical reimbursements.
            24          61.    When the ERlSA plan is self-funded, the plan typically will enter into
            25    an "administrative service agreement" with a health insurer like United to perform
            26    certain administrative responsibilities, such as providing plan members with plan
            27    documents, interpreting and applying the plan terms, making coverage and benefits
            28    decisions, handling appeals of coverage and benefits decisions, and providing for
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                          1 payment in the form of medical reimbursements. The administrative services
                          2 agreements appoint United as an ERISA fiduciary, and delegate to United authority
                          3 and responsibility to administer claims and make final benefits decisions, based on
                          4 claim procedures and standards that United develops. United collects administrative
                          5 services fees from the ERISA Plans. Plaintiffs are informed and believe that, under
                          6 the administrative services agreements, the ERISA Plans remain responsible for
                          7 funding the plans and the payment of benefits.
                          Q
                          u         62.   \Vith respect to certain ERISA Plans that are self-fl..mded, but which do
                          9 not specifically designate a Plan Administrator, Plaintiffs are informed and believe
                        10 that United has functioned as the de facto Plan Administrator. With respect to those
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                        11    ERISA plans which designate members of the Defendant Class as the Plan
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                        12 Administrator, Plaintiffs are informed and believe that United has functioned as the
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;:E(/)0lC')             13 co-plan administrator. In both cases, United functions as a Plan Administrator
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                        14 insofar as it exercised a delegated authority to provide plan documents to
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b~~:                    15 participants, receive benefit claims, evaluate and process those claims, review the
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                        16 terms of the plan, make initial benefit determinations, make and administer benefit
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               W        18 of contact for members and providers to communicate regarding benefits and benefit
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                        19 determinations. In carrying out these Plan Administrator functions, United
                        20 possessed authority and fiduciary discretion to manage and administer the ERISA
                        21 Plans.
                        22       VCR Reimbursement To Out-Or-Network Ambulatory Surgery Centers
                        23          63.   Some ASCs have written contracts with United, under which they agree
                        24 to accept reimbursement that is discounted from the ASC's total billed charges, in
                        25 exchange for the benefits of being a participating or "in-network" provider. These
                        26 benefits typically include an increased volume of business, because the health plans
                        27 provide financial incentives to their members to utilize the services of "in-network"
                        28 providers, such as reduced co-insurance payments and/or deductibles.

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                            1         64.      Conversely, some ASCs, such as Downey and Tarzana, do not have
                            2 written contracts with United. They are "out-of-network." As a result, these ASCs
                            3 receive less volume of patients from the plans, but they are not required to accept
                            4 reduced amounts on their charges for the services rendered.
                            5         65.      Some health plans, such as Preferred Provider Organizations ("PPOs"),
                            6 indemnity plans and others, permit their members to access health care providers
                            7 who are outside the "network." Plans which offer coverage for out-of-network
                            8 services, including the services of l!\'.sCS, are marketed to prospective members as

                            9 benefiting them with the freedom and flexibility to choose the health care provider
                           10 of their choice, including out-of-network providers. These plans charge members a

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                           11   higher premium or contribution in exchange for this purported freedom of choice.
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_     .....    llfl        12         66.      Whether the claims are from out-of-network ASCs or from in-network
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 ::J 0 0      °_           13   ASCs, the claims reflect the actual billed charge for the claim. Even though in-
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                           14 network ASCs sometimes are reimbursed according to contracted rates that include
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b~~:                       15 discounts, they still submit their full billed charges on the claim. This is industry
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    . I-      ...J   111   16 standard for all providers, and reflects the well-established fact that charges are not
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CLUzo                      17 the same as discounted contract rates. Therefore, United has for many years
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                     W     18 acquired a wealth of charge data from which it could price claims through a proper
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                           19 comparison of prevailing charges for similar healthcare services by similar types of
                           20 ASCs within the same geographical market at the time.
                           21         67.      United and the Defendant Class, through the plan documents,
                           22 marketing materials, EOBs, appeal letter, and in oral statements, represent to the
                           23 Plaintiff Class, and the members with out-of-network access, that the plans will pay
                           24 for out-of-network ASC services in an amount that is the lower of either the
                           25 provider's actual billed charge, or the UCR amount. Indeed, on its website, United
                           26 states that it "will pay based on language in the member's health plan that in most
                           27 cases requires the amount to be the lower of either:
                           28               • the out-of-network provider's actual charge billed to the member, or
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              2                •   'the reasonable and customary amount,' 'the usual, customary, and
                                   reasonable amount,' 'the prevailing rate,' or other similar terms that
              3                    base payment on what other healthcare providers in a geographic area
              4                    charge for their services." [Emphasis added.]2

              5          68.       For decades, commercial payors like United have purported to
              6   reimburse for out-of-network services according to the UCR rate. Reimbursement
              7   at the UCR rate has become so-well established that some states, including
              8 California, now require certain health plans to reimburse out-of-network services at

              9   rates using criteria that parallel the industry-standard for determining UCR. See,
            10 e.g., 28 C.C.R. § 1300.71(a)(3)(B) (referring to prevailing provider rates charged in

             11 the general geographic area in which the services were rendered); Fla. Stat. Ann. §

            12 641.513(5) (referring to "usual and customary provider charges" for similar

            13    services in the community where the services were provided). Because the industry
            14 standard traditionally has been for reimbursement according to a UCR rate, out-of-

            15 network ASCs and their patients who are members of plans insured and/or

            16 administered by United reasonably expect claims to be reimbursed pursuant to a

            17 proper methodology that is based on UCR.
            18                            United's Improper Pricing Methodologies
            19          69.        Plaintiffs are still in the process of investigating and discovering the
            20    methods that United and the other Defendants used, and continue to use, for pricing
            21    and reimbursing out-of-network ASC claims. It is clear, however, that United has
            22    failed to implement an appropriate methodology for establishing the UCR amount.
            23    None of United's methods are based on a review of the prevailing or competitive
            24    charges for similar healthcare services by similar types of providers within the same
            25
            26
                  2 As of the date of filing this Amended Complaint, the above-referenced statements
            27
                  could be found at: www.uhc.com/legal/payment_of_out_of_network_benefits.htm.
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                      1     geographical area at the time.
                      2           70.    It is arbitrary, capricious and improper for Defendants to use contract
                      3 rates for establishing reimbursement rates absent a contract. Yet, this is exactly
                      4 what Defendants do when they pay out-of-network ASC claims using United's
                      5 "highest in-network rate" and MNRP methods.
                      6           71.    Plaintiffs are informed and believe that both the "highest in-network
                      7 rate" method and the MNRP method are derived from Medicare rates set by CMS.
                      s;I
                      v     1"v1edicare constitutes the largest contracted payor in the country, since each provider
                      9 wishing to participate in the Medicare program must sign a contract agreeing to
                     10 accept Medicare rates for Medicare beneficiaries. Medicare rates also are set by the

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               -ro   11     federal government, solely for use as a payor of last resort to cover elderly and
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_ ..... IlJ)         12 disabled individuals, based largely within the limits of the annual Congressional
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::EUlO1C']           13     budgets for the Medicare program, and regardless of what the market rate would be
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                     14 for non-Medicare services provided at particular ASCs. Thus, using Medicare rates
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6~~:                 15 for out-of-network claims for services provided to non-Medicare beneficiaries fails
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  • f- ..l 1I1       16 to take into consideration the necessary factors for determining the UCR rate, and
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o.uz o               17 does not compare actual charges with usual, customary or competitive charges for
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               W     18 the same or similar service in the relevant geographic area.
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                     19           72.    United knows that Medicare rates are not a proper basis for determining
                     20 UCR. On its own website, where United explains that most plans pay out-of-
                     21 network benefits according to a "reasonable and customary amount" using the
                     22 Ingenix Database, United explains the variety of factors that even it purports to
                     23 believe should be are taken into account in determining the reasonable and
                     24 customary amount. Medicare rates are not included among these factors. Indeed,
                     25 United admits that "reasonable and customary," "usual, customary, and reasonable,"
                     26 "prevailing rate" and other synonymous terms for UCR "do not apply to [different
                     27
                     28

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                      1    kinds of] plans with payment based solely on Medicare rates.,,3
                     2             73.      It also is arbitrary, capricious and improper for Defendants to use the
                     3 Ingenix Database for establishing UCR rates, if that is what United used. While the
                     4 sources of information collected for the Ingenix Database are asserted by
                     5 Defendants to be trustworthy charge data collected from health insurers and other
                     6 industry sources, Plaintiffs are informed and believe that the Ingenix Database
                     7 contains numerous flaws, including, but not limited to:
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                      v                  a) Using data which is not representative of charges within a geographic
                                            area;
                     9
                    10                   b) Using data which does not reflect the charges of providers with any
                                            particular degree of expertise or specialization;
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                    12                   c) Using data which is not based upon comparable services;
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                                         d) Using data which is not based on the details of the type of facility;
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   ee-                                   e) No determination of the numbers or types of providers in any
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                                            geographic area;
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                                         f) Subjection to pre-editing and "scrubbing" by data contributors such as
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                                            the health insurers who have a financial incentive to skew the data
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             W      18                      downward;
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                    19
                                         g) No determination of the actual types of procedures within a geographic
                    20                      area;
                    21
                                         h) Collection of charge data which is not representative of the actual
                    22                      number of procedures performed within a geographic area;
                    23
                                         i) Insufficient collection of provider-specific data to enable its users to
                    24                      determine whether the charges are from one provider, from several
                    25                      providers, or from only a minority or specific subset of the providers in

                    26
                           3   As of the date of filing this Amended Complaint, the above-referenced statements
                    27 could be found at: www.uhc.com/legal/payment_of_out_of_network_benefits.htm.
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                       1               a geographic area;
                       2
                                    j) No collection of patient specific information such as age or medical
                       3               history or condition;
                       4
                                    k) No determination of the most common charge for the same service or
                       5               comparable service or supply;
                       6
                                    1) No determination of the place of service or type of facility;
                       7
                                    m) Insufficient data collection for determining an appropriate geographic
                       8
                                       medical market for comparing like charges;
                       9

                      10
                                    n) Combining zip codes inappropriately and using zip codes instead of
                                       appropriate geographic medical markets;
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ztD -                               0) Combining all provider charges by procedure code without regard to
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01-«··                              p) No comparison of procedures of the same or similar complexity by,
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b~~:                  15               code modifiers;
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                                    q) No use of an appropriate statistical methodology;
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                                    r) No proper consideration of charging protocols and billing practices
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                                       generally accepted by the medical community or specialty groups;
                      19
                      20            s) No proper consideration of medical costs in setting geographic areas;

                      21            t) Lack of quality control, such as basic auditing, to ensure the validity,
                      22               completeness, representation, and authenticity of the data submitted;

                      23            u) Reporting of charges that are systemically skewed downward;
                      24
                                    v) Using relative values and conversion factors to derive inappropriate
                      25               UCR amounts;
                      26
                                    w) Not applying appropriate inflation factors when using older charge
                      27               data.
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                         1          74.    Plaintiffs are informed and believe that, at all relevant times, the other
                         2   Defendants, including the Defendant Class members, relied on and agreed with
                         3 United to use flawed reimbursement methodologies to systematically underpay

                         4   claims submitted by the Plaintiff Class instead of paying based on UCR.
                         5           The Defendants' False Representations Of VCR Reimbursement
                         6
                                    75.   Throughout the Class Period, Plaintiffs provided out-of-network ASC
                         7
                             services to patients who are members of health plans or policies that Defendants
                         8
                             insured, funded, sponsored and/or administered. The harm being inflicted on
                         9
                             Plaintiffs by the Defendants' unlawful business practices is typical of that being
                        10
                             suffered by members of the Plaintiff Class.
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         01'-                       76.   Patients treated by Downey and Tarzana expect their health plans to
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                             accurately and appropriately reimburse them for their services based on UCR. To
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                             ensure direct payment from the Defendants, Plaintiffs routinely obtain an
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Kl ::.:: ll. •               assignment of benefits from the members in advance of the surgery. This
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                             assignment expressly authorizes the Defendants to pay by check made payable
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                             directly to Plaintiffs for the medical and surgical benefits allowable, and otherwise
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                             payable to the member under the plan, as payment toward the total charges for the
         -..J ..J
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                 I-          services rendered. Thus, the members assigned their healthcare benefits, and the
                        19
                             correlative rights arising from these benefits, to Plaintiffs. This is a standard
                       20
                             industry practice among healthcare providers, and the assignment of benefits
                       21
                             obtained by Plaintiffs is typical of that obtained by members of the Plaintiff Class.
                       22
                                   77.    Prior to providing the services, Plaintiffs, as is typical of all ASCs, first
                       23
                             calls the patient's health plan to verifY that the patient is an eligible member.
                       24
                             Known as the "verification of benefits," this phone call is how the provider
                       25
                             determines whether the patient has out-of-network benefits and, if so, what those
                       26
                             benefits consist of, prior to agreeing to provide the services.
                       27
                                   78.    As is typical of all ASCs, when verifYing benefits, Plaintiffs' employees
                       28

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                    1   call the phone number provided on the members' health insurance cards. Plaintiffs
                    2   are informed and believe that the number provided on the cards is for United
                    3 Healthcare, and therefore the representatives who answer Plaintiffs' calls are United

                    4 employees. Plaintiffs are informed and believe that responding to verification of

                    5 benefit calls is one of the administrative services that United provides to the

                    6 Defendant Class.
                    7         79.    In response to Plaintiffs' inquiry about out-of-network benefits, United,
                    8 on behalf of itself and, in relevant cases, on behalf of the Defendant Class members,

                    9 routinely informs Plaintiffs that the member has out-of-network benefits at a

                   10 particular percentage. Industry standard is that the percentage is of UCR. A United

     o i" -
            -
            OJ    11    representative will tell Plaintiffs' employees that the particular member's out-of-
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_-,lI)             12 network benefits are, for example, "60% ofUCR," "60% of reasonable and
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                  13    customary," or something similar which, in the industry context, and in light of the
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   WalL.
                  14 common course of dealing between a provider and payor, all mean the same thing,
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6<{~-             15 i. e., that the plans pay out-of-network benefits according to a UCR rate. The
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                  16 representations made to Plaintiffs concerning reimbursement of out-of-network
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Q..UZ O           17 benefits during the verification of benefits calls is typical of the representations
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            W     18 made to the Plaintiff Class, as described in examples set forth below.
            I-

                  19          80.    At all relevant times, Plaintiffs submitted the appropriate claim forms
                  20 for payment to United. The claim forms include information such as the type of
                  21 procedure, the coding for the procedure, the fact that Plaintiffs are assignees of the
                  22 member benefits, and other information by which the claim can be processed and
                  23 paid. The claim form also includes Plaintiffs' billed charges. These bills are
                  24 submitted on industry standard forms, commonly known as Uniform Billing ("UB")

                  25 forms.
                  26          81.    As is typical with all ASCs in the Plaintiff Class, Plaintiffs' billed
                  27 charges are competitive with both other out-of-network ASCs and in-network ASCs
                  28 in the same geographic region in which Plaintiffs provide services.

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                        1           82.   The "charge" amount that a healthcare provider submits on a
                        2    reimbursement claim is the same regardless of whether the payor is an an out-of-
                        3 network payor, an in-network payor, a government payor, or a private payor. This

                        4 also is industry standard.

                        5.          83.   In accordance with the assignment of benefits, after processing
                        6 Plaintiffs' claim, either United or a Plan Defendant routinely sends the

                        7 reimbursement check and an accompanying EOB directly to Plaintiffs through the

                        8 U.S. mail, thereby acknowledging their status as the beneficiary and "claimant" for

                        9    benefits.
                       10          84.    The EOBs that the Defendants send to Plaintiffs and the members
                 -
                 ro    11    usually represent that out-of-network benefits are calculated based on the UCR rate.
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             IUl       12 The EOBs list the billed charge and the amount of the charge being "allowed." The
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;:EUl<llC')            13    payment amount is the particular percentage of the "allowed amount," minus any
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                       14 applicable deductibles and copayments. The EOBs are written so that the "allowed
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b~~:                   15 amount" appears to be the UCR rate, because the EOBs typically will say:
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  • f- ..J 1J1
                       16                 Your plan covers reasonable charges for therapeutic
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o..uzo                                    treatment of sickness or injury. The reasonable charge is
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                                          based on amounts charged by other providers for similar
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          W           18                  services or supplies. [Emphasis added.]
                f-

                      19
                             Plaintiffs are informed and believe that the other members of the Plaintiff Class
                      20
                             received EOBs containing substantially similar statements that carry the same
                      21
                             meaning in the industry.
                      22
                                   85.    Plaintiffs frequently spoke with United representatives during the
                      23
                             course of appealing a claim that Plaintiffs believed was not paid correctly, and
                      24
                             typically was told benefits had been determined based on the UCR rate, sometimes
                      25
                             adding that it utilized prevailing provider charge data maintained by Ingenix.
                      26
                                   86.    Similarly, letters sent through the U.S. mail by United Healthcare to
                      27
                             Plaintiffs and the patients during the course of administratively appealing claims
                      28

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              1 expressly represented that reimbursement was based on the UCR rate, and often

              2   added that it had been derived from a database of prevailing provider charges
              3 maintained by Ingenix. United's representations frequently identify the Ingenix's

              4 Database as consisting of the PHCS database. These statements often purported to

              5 include pertinent details, but not the true details for how United priced the claim.

              6            87.   United has sent substantially similar letters to other members of the
              7 Plaintiff Class, as well as their patients, and Plaintiffs are informed and believe that

              8 substantially similar letters are typically sent to all members of the Plaintiff Class.

              9            88.   The oral communications and written correspondence between
             10   Defendants and Plaintiffs and the Patient Class routinely fail to disclose the use of
             11   the "highest in-network rate" or MNRP methodologies as the method for pricing the
             12   claim.
             13            89.   With respect to the claims that United administers for the Defendant
             14   Class, Plaintiffs are informed and believe that the Defendant Class members, and
             15   each of them, know that United makes these representations to the Plaintiff Class
             16   and, in fact, authorize United to make such statements pursuant to the authority
             17   delegated to United in the administrative services agreements.
             18            90.   The Defendants' representations that the Plaintiffs' claims were
             19   reimbursed based on UCR rates were false. From the time United responds to
            20    verification of benefits calls, to the time United and the other Defendants deny
            21    appeals, the Defendants have routinely and systematically misrepresented that out-
            22    of-network benefits are reimbursed according to the UCR rate. Plaintiffs are
            23    informed and believe that all of the members of the Plaintiff Class were falsely told
            24    by Defendants that out-of-network benefits are reimbursed based on the UCR rate.
            25             91.   Although United has stated in the course of this lawsuit that it is
            26    United's practice and policy not to utilize or rely on data from the Ingenix Database
            27    in adjudicating and reimbursing claims for any out-of-network ASC claims, even
            28    after taking such position in this lawsuit, United made further representations to
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              1   Downey and its patients that United relied on the Ingenix Database to price
              2   Plaintiffs' claims, and furthermore has revealed that United has used the Ingenix
             3 Database to price some out-of-network ASC claims.
              4                        The Harm Caused To The Plaintiff Class
              5         92.    Plaintiffs are informed and believe that, and thereon allege, that all of
             6    the claims which were underpaid to Plaintiffs and the Plaintiff Class involve plans in
             7 which out-of-network benefits for ASCs are meant to be paid at amounts based on

             8 the UCR rate. It is an abuse of its discretion and fiduciary duties for Defendants to

             9    calculate out-of-network benefits according to in-network rates, Medicare rates, the
            10    flawed Ingenix Database, or some other methodology which does not adequately
            11    compare charges of similarly-situated providers in the same geographic area at the
            12 time.

            13          93.    By using the flawed and inappropriate methodologies to price and pay
            14    out-of-network ASC claims, the Defendants have systematically underpaid the
            15 Plaintiff Class. As United stated in the EOBs, and as it markets on its own website,

            16 UCR calculations are supposed to be based upon a comparison of a provider's

            17 charges to the charges of other similarly situated providers within the same
            18 geographic region at the time. By using its flawed pricing methodologies, including

            19    by relying on Medicare schedules, to pay out-of-network ASC claims, United did
            20    not base its pricing and payments to the Plaintiff Class based upon the ASC' s
            21    charges. As a result, the Defendants drastically underpriced and underpaid the
            22    claims.
            23          94.    Moreover, United intentionally led Plaintiffs and the Plaintiff Class to
            24    believe that benefits were determined based on a UCR rate. As alleged above, when
            25    Plaintiffs contacted United to verify out-of-network benefits, United routinely
            26    represented that benefits were available at a UCR rate. Despite United's
            27    representations during the verification of benefits process, the Defendants rarely
            28    paid Plaintiffs at the represented percentage of UCR, and instead improperly priced
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                   1 the Plaintiffs' claims based on arbitrary, capricious, and improper methodologies.
                   2           95.      Furthermore, the EOBs, appeal denial letters, and other
                   3 communications from United represented that benefits were in fact determined
                   4 based on the UCR rate. At no point did United disclose its pricing methodologies
                   5 which are not based on a proper calculation ofUCR.
                   6           96.      As a result of Defendants' affirmative misrepresentations, and their
                   7 concealment of the true manner in which they reimbursed out-of-network ASC
                   SO!
                   u     claims, Plaintiffs were induced into agreeing to incur significant expenses in order
                   9 to provide their services to the members of Defendants' health plans. Plaintiffs are
                  10 informed and believe that their experience is typical of the Plaintiff Class.

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           -      n            97.      To illustrate, Defendants have in many cases paid Downey vastly
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~-<;iU;           12 different percentages of charges for parallel procedures performed under similar
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:;EUlOlf')       13 circumstances that were billed at comparable charges, with no explanation by
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OUlZX            14 Defendants for the significant discrepancy. For example:
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b~~:             15                  a) For patient 14 , Downey charged $6,978.12 for an
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....I:JW':"      16                     esophagogastroduodenoscopy C'EGD"), also known as an upper
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                                        endoscopy, performed in 2008. Downey was informed that the
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OUl«;;)                                 patient's plan covered 60% of charges. UnitedHealth in this instance
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                 18                     accurately paid $4,186.87 (60%). That shows that, for this claim,
            W
            f-                          United agreed that Downey's full billed charges were reasonable and
                 19                     customary.
                 20
                 21                  b) For patient 2, Downey charged $7,694.51 for an EGD performed in
                                        2006. Downey was informed that the patient's plan covered 60% of
                 22                     charges. But UnitedHealth only paid $1,168.20 (15%).
                 23
                 24
                 25
                      Patient names have been changed to numbers to preserve patient confidentiality.
                         4

                 26 Downey has already provided the United Defendants with the patient names.
                    Plaintiffs will further disclose patient identity pursuant to protective order on an as-
                 27
                    need basis.
                 28

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                       1               c) For patient 3, Downey charged $12,664.95 for an EGD (with possible
                                          biopsy) performed in 2007. Downey was informed that the patient's
                       2
                                          plan covered 50% of charges. But UnitedHealth only paid $382.90
                       3                  (3%).
                       4
                                       d) For patient 4, Downey charged $12,235.95 for an EGD (with possible
                       5
                                          biopsy) performed in 2008. Downey was informed that the patient's
                       6                  plan covered 80% of charges. But UnitedHealth only paid $1,557.60
                       7
                                          (12.7%).
                       Q
                       u
                                       e) For patient 5, Downey charged $12,699.95 for an EGD (with possible
                       9                  biopsy) performed in 2009. Downey was informed that the patient's
                      10
                                          plan covered 80% of charges. But UnitedHealth only paid $1,339.83
                                          (10.5%).
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_-,lI1                12         98.      Plaintiffs are informed and believe that the low and inconsistent
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~UlO1(")              13   payments for patients 2-5 were based on United's flawed methodologies which
~       ,       ~
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OUl Z ><              14 failed to take into account the correct UCR criteria.
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  Wall..
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b~~::                 15         99.      At all relevant times, the Defendants used improper methodologies to
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.J::JW.c.
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                      16 systematically under-price the true market rates of services rendered by Plaintiffs.
O::ZWlI1
WW(!)-
o.uz o                17 These improper methodologies were not disclosed by Defendants, and their details
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                W     18 were deliberately kept off limits to their own members and the ASCs who provided
                ;-

                      19 healthcare services. This has caused harm to both Plaintiffs and their patients.
                      20         100. Plaintiffs suffer direct harm by incurring expenses to provide the
                      21   services, and then are forced into the position of incurring further expenses seeking
                      22 correct reimbursement from Defendants and having to attempt to collect amounts
                      23 from patients that the patients justifiably believe should be covered by their plans.
                      24 Plaintiffs are informed and believe that the patients also reasonably expected that
                      25 their health insurance, which gave them the freedom to choose out-of-network
                      26 providers, would properly calculate and pay out-of-network benefits according to
                      27 UCR. Plaintiffs often are unable to collect balances from the patients, thereby
                      28 having to take a loss for their services. Plaintiffs also suffer a loss on the costs of

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              1   supplies, space, equipment, etc. that Plaintiffs expend to provide the service.
              2   Plaintiffs' harm is typical of what members of the Plaintiff Class experienced.
              3          101. By falsely representing that the patients are liable for amounts which
              4   the patients in fact do not owe, and by forcing the ASCs to pursue payments from
              5 their patients, Defendants' illegal and improper actions also have harmed the

              6   relationships that Plaintiffs and members of the Plaintiff Class have with their
              7   patients, making it difficult for the Plaintiff Class to operate their businesses.
              8

              9   Plaintiffs and members of the Plaintiff Class have with the surgeons who perform
            10 the outpatient surgeries. For example, United has improperly threatened to cancel
            11    the contracts of physicians who refer members to Downey, thereby denying the
            12    choice to access care out-of-network that is promised by the plans. Plaintiffs are
            13    informed and believe that the other Defendants knew that United made such threats,
            14    and encouraged those threats.
            15           103. Plaintiffs are informed and believe that, through acts of boycott,
            16 coercion and intimidation, Defendants intentionally seek to ruin their ability to
            17 compete outside United's "network," and seek to force Plaintiffs and other out-of-
            18 network ASCs into accepting low in-network rates and/or agreeing to oppressive
            19 contract terms.
            20          104. As a further result of the Defendants' wrongful business practices,
            21 Plaintiffs are harmed by having to expend significant time and resources in trying to
            22 appeal Defendants' underpayments. As will be discussed in detail below,
            23 Defendants' failure to provide a full and fair review of Plaintiffs' claims and appeals
            24 rarely results in any additional payment. The appeals of out-of-network ASCs like
            25 Plaintiffs, including appeals sent directly by the patient, are rendered futile due to
            26 the Defendants' systematic misrepresentations intended to conceal the true methods
            27 that United uses to price the claims. Like Downey and Tarzana, the members of the
            28 Plaintiff Class were similarly harmed by being forced to expend significant time and

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              1   resources futilely appealing the Defendants' underpayments.
              2            105. The members who have obtained, and want to obtain, services from the
             3 Plaintiff Class are harmed because the Defendants refuse to reimburse out-of-

             4 network ASC services according to a proper determination of UCR, which leads to

             5 the ASCs having to bill the members and seek to collect from them amounts that the

              6   members justifiably believe would be covered by their health insurance. The
              7 members therefore become liable to the Plaintiff Class for amounts that should be

             8 covered by Defendants were the claims being priced and paid according to UCR

             9 rates.
             10                              CLASS ACTION ALLEGATIONS
             11               THE PLAINTIFF CLASS AND CALIFORNIA SUBCLASS
            12             106. Downey and Tarzana bring this action on behalf of themselves and all
            13    others similarly situated under Rule 23 of the Federal Rules of Civil Procedure. The
            14    requirements of subparts 23(a) and (b)(l), (b)(2) and (b)(3) of the Federal Rules of
            15    Civil Procedure are satisfied in this case.
             16            107.   Plaintiffs bring this class action on behalf of the Plaintiff Class, defined
             17
                  as:
             18
                                  All non-contracted ASCs within the boundaries of the
             19
                                  United States of America who, during the Class Period,
            20                    provided services to any insured, member or enrollee of
                                  United and/or of an ERlSA Plan which contracted with
            21
                                  United to administer claims, and were underpaid due to
            22                    United's failure to properly calculate the UCR rate under a
                                  plan providing for reimbursement of out-of-network ASC
            23                                                5
                                  services according to UCR.
            24
            25
                  5   By "UCR," Plaintiffs mean the amount determined based generally on a review of
            26 the prevailing or competitive charges for similar healthcare services by similar types
            27 of providers within the same geographical area at the time, and includes what
                  Defendants may refer to as "Usual, Customary and Reasonable," "Reasonable and
            28 (footnote continued)

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                       1
                                     108. Plaintiffs also bring this action on behalf of themselves
                       2

                       3
                           and on behalf of a California Subclass, defined as:

                       4                   All non-contracted ASCs within the boundaries of the
                       5                   State of California who, during the Class Period, provided
                                           services to any insured, member or enrollee of United
                       6                   and/or of an ERISA Plan which contracted with United to
                       7                   administer claims, and were underpaid due to United's
                                           failure to properly calculate the UCR rate under a plan
                       8                   providing for reimbursement of out-of-network ASC
                       9                   services according to UCR.
                      10             109. The Class Period is defined as:

   Or-- -
                -
                00    11                   The period in which United priced claims submitted by the
UOmC?
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_-,lIl                12                   Plaintiff Class using any methodology that does not
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                                           properly establish payment based on UCR, through the
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~       .       ~                          date of certification.
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                                     110. This putative plaintiff class includes hundreds, and likely thousands, of
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                           "out-of-network" ASCs throughout the United States, and is therefore so large as to
    -       ..J ..J
                W     18
                f-         make joinder of all members impracticable within the meaning of Rule 23(a)(I) of
                      19
                           the Federal Rules of Civil Procedure.
                      20
                                                                  Commonality
                      21
                                     111. Pursuant to Rule 23(a)(2) of the Federal Rules of Civil Procedure, there
                      22
                           are questions of law or fact common to all class members, including, but not limited
                      23
                           to, the following:
                      24
                      25
                                 i


                      26 Customary," "Usual and Customary," "Reasonable Charge," "the Prevailing Rate,"
                           "the Usual Fee," "the Competitive Fee," or some other similar phrase that, in the
                      27
                           context of the healthcare industry, means essentially the same thing.
                      28

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                   1
                                    (iii) that they used the Ingenix Database in calculating
                   2
                                    the UCR amounts due the out-of-network ASCs; and
                   3
                                    (iv) that the members owed the non-contracted ASCs for
                   4
                                    all the amounts not paid by Defendants to the ASCs based
                   5                on faulty determinations ofUCR.
                   6
                                 J. Whether the Defendants conspired and/or aided and abetted each other
                   7                in furtherance of the unlawful acts alleged herein;
                   8
                                 k. Whether Defendants' conduct in California violates California Business
                   9                and Professions Code § 17200 et seq.
                  10
                                                               Typicality
        co  -     11
                              112. The claims of Plaintiffs are typical of the claims of the defined Plaintiff
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                       Class, within the meaning of Rule 23(a)(3) of the Federal Rules of Civil Procedure,
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            ~          and are based on and arise out of the same uniform and standard illegal practices of
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                       the Defendants, as alleged herein by Plaintiffs. The proposed Plaintiff Class
    0:-
b~~:              15
z>-u_                  representative states claims for which relief can be granted that are typical of the
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-l::lW.'..        16
  - I-- -J II)
C::ZWII)               claims of absent Plaintiff Class members. If litigated individually, the claims of
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Ol'-tIl~               each Plaintiff Class member would require proof of the same material and
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    --J-J
            W     18
            I--        substantive facts, rely upon the same remedial theories, and seek the same relief.
                  19
                                                              Adequacy
                  20
                              113. Plaintiffs are committed to pursuing this action and are prepared to
                  21
                       serve the proposed Plaintiff Class in a representative capacity with all of the
                  22
                       obligations and duties material thereto. Plaintiffs will fairly and adequately
                  23
                       represent the interests of the members of the Plaintiff Class within the meaning of
                  24
                       Rule 23(a)(4) of the Federal Rules of Civil Procedure, and will not have any
                  25
                       interests adverse to, or that directly and irrevocably conflict with, the interests of the
                  26
                       other Plaintiff Class members.
                  27
                              114. Plaintiffs have retained competent counsel experienced in class action
                  28

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              1 litigation, which will adequately prosecute this action, and will assert, protect and

              2   otherwise well represent the named Class representatives and absent Plaintiff Class
              3 members.

              4                                        Rule 23(b)
              5          115. The prosecution of separate actions by individual Plaintiff Class
              6 members would create a risk of adjudication with respect to individual Plaintiff

              7   Class members that would, as a practical matter, be dispositive of the interests of
              8 other members of the Plaintiff Class who are not parties to this action, or could

              9 substantially impair or impede their ability to protect their interests. Fed. R. Civ. P.

             10 23 (b) (1 )(B).
             11         116. The prosecution of separate actions by individual members of the
             12 Plaintiff Class would create a risk of inconsistent or varying adjudications with
             13 respect to individual members of the Plaintiff Class which would establish
             14 incompatible rights within the Plaintiff Class. Fed. R. Civ. P. 23(b)(1 )(A).
            15          117. The Defendants' actions are generally applicable to the Plaintiff Class
            16 as a whole, and Plaintiffs seek equitable remedies with respect to the Plaintiff Class
            17 as a whole, within the meaning of Rule 23(b)(2) of the Federal Rules of Civil
            18 Procedure.
            19          118. The common questions of law and fact enumerated above predominate
            20 over individual questions, and a class action is a superior method for the fair and
            21 efficient adjudication of this controversy, within the meaning of Rule 23(b)(3) of the
            22 Federal Rules of Civil Procedure. Common or general proof will be used for each
            23 member of the Plaintiff Class to establish each element of their claims based on
            24 RICO and ERISA. Additionally, proceeding as a class action is superior to other
            25 available methods of adjudication. The likelihood that individual members of the
            26 Plaintiff Class will prosecute separate actions is remote due to the time and expense
            27 necessary to conduct such litigation, which exceeds what anyone Plaintiff Class
            28 member has at stake.

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                    1                              THE DEFENDANT CLASS
                    2         119. Plaintiffs bring this action against the Representative ERlSA Plan
                    3 Defendants and all others similarly situated under Rule 23 of the Federal Rules of
                    4 Civil Procedure. The requirements of subparts 23(a) and (b)(1) and (b)(2) of the
                    5 Federal Rules of Civil Procedure are satisfied in this case.
                    6         120. Plaintiffs bring this class action against the Defendant Class defined as:
                    7
                                    All ERISA plans and plan-designated ERISA Plan
                    Q
                    u
                                    Administrators, within the boundaries of the United States
                    9               of America, who during the Class Period contracted with,
                                    hired, retained or otherwise used United to administer,
                   10               process, adjudicate, price, review and/or reimburse claims
             -
             OJ
                   11               for services provided by non-contracted ASCs to a
    01'--
cjo~~                               participant or beneficiary of an ERlSA plan which
ZlO",-
_-,Ill             12               provides for reimbursement of out-of-network ASC
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L{f)OlO'l          13               services based on UCR.
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                   14                                        Rule 23(a)
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6~~:               15                                        Numerosity
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  • f- ..J III
                   16         121. This putative Defendant Class includes hundreds of ERISA Plans and
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Q.uz o             17 ERlSA Plan Administrators throughout the United States and is therefore so large as
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             W     18 to make joinder of all members impracticable within the meaning of Rule 23(a)(1)
             f-

                   19 of the Federal Rules of Civil Procedure.
                   20                                       Commonality
                   21         122. Pursuant to Rule 23(a)(2) of the Federal Rules of Civil Procedure, there
                   22 are questions of law or fact common to all Defendant Class members, including, but
                   23 not limited to, the following:
                   24            a. Whether members of the Defendant Class underpaid the Plaintiff Class
                                    for out-of-network services based upon improper methodologies for
                   25
                                    pricing UCR rates;
                   26
                                 b. Whether members of the Defendant Class made false representations to
                   27
                                    the Plaintiff Class as to how they calculated the payments for non-
                   28               contracted ASC services;
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             1
                          J. Whether members of the Defendant Class conspired and/or aided and
             2
                             abetted United and/or each other in furtherance of the unlawful acts
             3               alleged herein;
             4
                           k. Whether interest should be added to the payment of unpaid benefits.
             5
                                                        Typicality
             6

             7
                        123. The claims of Plaintiffs against the Representative ERISA Plan
             8 Defendants, and their defenses to Plaintiffs' claims, are typical of the defined

             9   Defendant Class, within the meaning of Rule 23(a)(3) of the Federal Rules of Civil
            10 Procedure, and are based on and arise out of the same uniform and standard illegal

            11   practices of the Defendants, as alleged herein by Plaintiffs. The claims against the
            12 proposed Representative ERISA Plan Defendants are typical of the claims for which

            13 relief can be granted against the absent members of the Defendant Class. If litigated

            14 individually, the claims and defenses involving each Defendant Class member

            15 would require proof of the same material and substantive facts, rely upon the same

            16 remedial theories, and seek the same relief.
                                                        Adequacy
            17
            18          124. The Representative ERISA Plan Defendants, and anyone of them, as
            19 representatives of ERISA plans and ERISA plan administrators that have contracted

            20   with United, will fairly and adequately protect the interests of the Defendant Class
            21   within the meaning of Rule 23(a)(4) of the Federal Rules of Civil Procedure, and
            22   will not have any interests adverse to, or that directly and irrevocably conflict with,
            23   the interests of the other Defendant Class members. The Representative ERISA
            24   Plan Defendants will be capable of vigorously defending the action, and are likely to
            25 retain competent counsel experienced in class action litigation, which will

            26   adequately defend the action, and will assert, protect and otherwise well represent
            27   the absent Defendant Class members.
                                                       Rule 23(b)
            28

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              1          125. The prosecution of separate actions by multiple plaintiffs against
              2   individual members of the Defendant Class would create a risk of inconsistent or
              3 varying adjudications with respect to individual members of the Defendant Class

              4   which would establish incompatible rights within the Defendant Class. Fed. R. Civ.
              5 P.23(b)(1)(A).

              6         126. The prosecution of separate actions against individual Defendant Class
              7 members would create a risk of adjudication with respect to individual Defendant

              8 Class members that would, as a practical matter, be dispositive of the interests of

              9   other members of the Defendant Class who are not parties to this action, or could
             10 substantially impair or impede their ability to protect their interests. Furthermore,

             11 without a Defendant Class, plaintiff is at risk of being put in the position of having

            12 to suffer a generalized loss as to absent members of the Defendant Class. Fed. R.

            13    Civ. P. 23(b)(l)(B).
            14          127. The members of the Defendant Class, through their common
            15 agreements with United, their misrepresentations regarding UCR, and their unlawful
            16 underpayments of benefits, have acted in such a manner that is generally applicable
            17 to the Plaintiff Class, and therefore Plaintiffs seek injunctive and declaratory relief
            18 as to certain fundamental issues that will eliminate or reduce the need for ancillary
            19    or follow-up proceedings by members of the Plaintiff Class against members of the
            20    Defendant Class. Fed. R. Civ. P. 23(b)(2).
            21          128.   The common questions of law and fact enumerated above predominate
            22 over individual questions, and a class action is a superior method for the fair and
            23 efficient adjudication of this controversy, within the meaning of Rule 23(b)(3) of the
            24 Federal Rules of Civil Procedure. Common or general proof will be used for each
            25 member of the Defendant Class to defend against the claims brought against
            26 Defendants. Additionally, proceeding as a class action is superior to other available
            27 methods of adjudication. The likelihood that individual members of the Defendant
            28 Class will seek to' be prosecuted in separate actions is remote due to the time and

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            1   expense necessary to conduct such litigation, and the risk to the members of the
            2   Defendant Class that a decision in favor of Plaintiffs on the merits of the class action
            3 will be controlling in actions brought against them individually.
            4                              FIRST CLAIM FOR RELIEF
            5                          Violations Of 18 U.S.C. § 1962(c)
                               Based On Predicate Acts Of Mail And Wire Fraud
            6
                            (On Behalf Of Downey, Tarzana And The Plaintiff Class)
            7                          (Against The United Defendants)
            8
                       129. The allegations of the prior paragraphs of the Amended Complaint are
            9
                hereby repeated as if fully set forth herein.
           10
                                                    The Enterprise
           11

           12
                       130. The United Defendants carried out their scheme to defraud Plaintiffs
           13   and the Plaintiff Class through the conduct of an association-in-fact enterprise
           14 within the meaning of 18 U.S.C. § 1961(4). This association-in-fact enterprise is

           15 comprised of the United Defendants, the members of the Defendant Class, including

           16 the Representative ERlSA Plan Defendants, and the DOE defendants (the

           17 "Enterprise").

           18
                       131. The Enterprise has and continues to have an ascertainable structure and
           19 function separate and apart from the pattern of racketeering activity in which the

           20 United Defendants have engaged. The members of the Enterprise function as a

           21   structured and continuous unit, and performed roles consistent with this structure,
           22   including legitimate business activities. United and the members of the Defendant
           23   Class comprise "a group of persons associated together for a common purpose of
           24   engaging in a course of conduct." Odom v. Microsoft Corporation, 486 F. 3d 514,
           25   552-553 (9th Cir. 2007). They are associated together for the purpose of processing
           26   and paying claims by healthcare providers for services provided to patients who are
           27   members ofERlSA plans insured and/or administered by United.

           28
                       132. Common Purpose. The purpose, function and course of conduct of

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                     1 the Enterprise are for United to act as administrators for the Defendant Class. As
                     2 alleged above, the members of the Defendant Class have hired United and/or
                     3 entered into "administrative service agreements" with United to perform certain
                     4 claims administrative responsibilities, such as providing plan members with plan
                     5 documents, interpreting and applying the plan terms, making coverage and benefits
                     6 decisions, handling telephone inquiries from providers concerning the benefits of
                     7 patients, determining the UCR for out-of-network healthcare providers in various
                     8 geographic regions of the country, calculating reimbursement on claims from

                     9 providers, determining what information to put on EOBS, and in many cases
                    10 sending such documents through the United States mail to providers and to patients,

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                    11   handling appeals of coverage and benefits decisions, and sending appeal response
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                    12 communications through the United States mail.
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::2:UlO\(')        13          133. United, the Representative ERISA Plan Defendants and the other
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                   14 members of the Defendant Class share a common purpose of using systems and
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b<~-               15 methodologies developed by Ingenix for undervaluing and underpaying claims by
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                   16 out-of-network ASCs to gain financially, and to force ASCs to accept unreasonably
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ll..UZO            17 low contracted rates. The United Defendants furthered this common purpose of the
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             ;.-
                   18 Enterprise by sending EOBs and letters to ASCs and their patients through the mail
                   19 which falsely stated that: (a) the United Defendants had accurately and appropriately
                   20 calculated a UCR rate for ASCs (by comparing each ASCs charges with the charges
                   21 of other ASCs in the same geographic area), when they had not; (b) representing to
                   22 the ASCs and patients that the patients owed certain amounts to the ASCs, when in
                   23 fact such amounts should have been paid by Defendants; and (c) United had used
                   24 the Ingenix Database to price claims, when it had not.
                   25          134. Ongoing Organization. The Enterprise in this action is an ongoing
                   26 organization, and is a vehicle for the commission of two or more predicate acts of
                   27 mail and wire fraud. Through use of Ingenix's faulty claims administration systems
                   28 to reimburse out-of-network ASC claims, United established mechanisms for

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                    1   systematically underpaying out-of-network ASC claims by consistently
                    2 undervaluing the UCR rate for such claims and then falsely representing to both the

                   3 ASCs and the members that the reimbursed amount represents the correct

                    4 reimbursement under the member's healthcare benefits plan. The Defendant Class

                    5 agreed, through their contracts with United, to use their flawed systems to
                   6    undervalue claims and thereby save each of the Defendants large sums of money in
                   7 the aggregate over thousands of claims.

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                   9 case demonstrate that the Enterprise functioned as a continuing unit, and that these

                  10 acts were and are ongoing, and are not isolated. The members of the Defendant
            -
            OJ    11    Class continue to delegate responsibilities to United to interpret the plan documents,
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_-,1Il            12 to price and pay providers' claims, and to send false EOBs and letters to ASCs and
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                  13 the members, and United continues to fraudulently assert that it has accurately and
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                  14 appropriately priced the out-of-network ASC claims, continues to misinterpret the
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b ~.~ :           15 terms of the health plans, continues to incorrectly price and pay the claims, and
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                  16 continues to fraudulently represent that the members owe amounts to the ASCs
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CLUZO             17 which are inappropriate under the terms of the health plans, but which amounts are
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            W     18 instead owed under the health plans.
            I-


                  19          136. The Enterprise provided each of the United Defendants with a system
                  20 or vehicle by which they could obtain flawed data and methodologies for
                  21    underpaying out-of-network ASC claims, use databases and fee schedules to
                  22 manipulate and reduce payments to ASCs for out-of-network services, and make
                  23 false representations to the ASCs concerning the reimbursement rates for the
                  24 services they provided. Ingenix benefited specifically by enhancing its ability to
                  25 earn licensing fees through its flawed reimbursement methodologies, and indirectly
                  26 through the underpayments and higher administrative fees of its parent,
                  27 UnitedHealth. UnitedHealth, United Healthcare and UHIC benefited specifically by
                  28 enhancing administrative fees they earned through contracts with employee benefit

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             1 plans. UnitedHealth at all times benefited through the activities of its subsidiaries.

             2   The Representative ERISA Plan Defendants, as well as the other members of the
             3 Defendant Class, benefited specifically by reducing the amount of benefits payable

             4 from funds to the Plaintiff Class for out-of-network ASC services.

             5         137. Plaintiffs are informed and believe that defendant Ingenix has promoted
             6   its flawed systems for calculating non-contracted provider claims as a cost-saving
             7 mechanism. The Defendants all know that Medicare rates, in-network rates, and the

             8 Ingenix Database are not appropriate for using to determine UCR rates, but have

             9 nonetheless relied on this information and shared it with each other to improperly

            10 underprice claims. These actions were taken in furtherance of their efforts to avoid

            11   correctly paying according to the UCR rate, for the benefit of the Defendants and
            12 the Enterprise as a whole.

            13         138. Persons. The United Defendants are "persons" within the meaning of
            14   18 U.S.C. § 1961(3) who conducted, participated in, operated, managed and/or
            15 controlled the affairs of the Enterprise through a pattern of racketeering activity, in

            16 violation of 18 U.S.C. § 1962(c). The United Defendants, and each of them,

            17 patiicipated in the conduct of the Enterprise for the common purpose of shifting the

            18   costs of medical treatment from themselves and the Defendant Class to the plan
            19 members and providers. Each of the United Defendants performed an important

            20   function in the Enterprise's activities that went well beyond directing only their own
            21   affairs. The United Defendants developed and controlled the flawed Ingenix
            22   methodologies for underpricing out-of-network ASC claims, and promoted it to
            23   other members of the Enterprise. Plaintiffs are informed and believe that the
            24   Defendant Class expressly agreed with United for United to use the flawed Ingenix
            25   methodologies to underprice benefits on claims, concealed the use of these flawed
            26   methods for pricing claims from their plan members, and upheld underpayments by
            27   reliance on the flawed methodologies.
            28                         Predicate Acts of Mail and Wire Fraud

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                     1         13 9. Section 1961 (1) of RICO provides that "racketeering activity" includes
                     2 any act indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18 U.S.C. §

                     3   1343 (relating to wire fraud). 18 U.S.C. § 1961(1)(B). As set forth below, the
                     4 United Defendants have and continue to engage in conduct violating each of these

                     5 laws to effectuate their scheme to underpay nonparticipating ASCs.

                     6         140. In addition, in order to make their scheme effective, each of the United
                     7 Defendants sought to and did aid and abet each other in violating the above laws

                     8

                     9   18 U.S.C. §§ 1341 and 1343 on this additional basis.
                    10         141. For the purpose of executing and/or attempting to execute the above
               -
               00
                    11   described fraudulent scheme to underpay the Plaintiff Class for services rendered to
     01'--
ug;;;C?
~-~;;;              12 plan members, by means of false pretenses, representations or promises in
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          0 -       13   connection with determining UCR, the United Defendants, in violation of 18 U.S.C.
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[1]«0::«
          z ><      14   § 1341, placed in post offices and/or in authorized repositories matter and things to
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     0::-
b«~-                15 be sent or delivered by the Postal Service, caused matter and things to be delivered
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  .1--1 If)         16 by commercial interstate carrier, and received matter and things from the Postal
O::ZWIf)
ww~-
o..uzO              17 Service or commercial interstate carriers, including, but not limited to, EOBs,
Olf)«;;j
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J:   00 0      "
     --1-1
               W    18 authorizations, correspondence, payments, reports, data, statements, and benefit plan
               I-


                    19 materials.
                    20         142.   For the purpose of executing or attempting to execute the above
                    21   described fraudulent scheme to underpay the Plaintiff Class for services rendered to
                    22   plan members, by means of false pretenses, representations or promises in
                    23   connection with determining UCR, the United Defendants, in violation of 18 U.S.C.
                    24   § 1343, transmitted and received by interstate wire, including telephone and internet,
                    25 matter and things which include, but are not limited to, EOBs, oral or electronic

                    26 representations of out-of-network benefits, preauthorizations and other service

                    27 approvals, correspondence, payment summaries, reports, data, statements, faxes, and

                    28 benefit plan materials.

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                     1        143. The ,fraudulent matter and things communicated by the United
                     2 Defendants, and each of them, via the Postal Service, commercial carrier, wire or
                    3 other interstate electronic media include, but are not limited to:
                    4            a. United represented to the Plaintiff Class, during the verification of
                                    benefits process, that out-of-network benefits for ASC services under
                     5
                                    the health plans would be available at a UCR rate, but failed to disclose
                     6              that United did not intend to priceout-of-network ASC claims
                     7
                                    according to UCR.
                    Q
                    u            b. United falsely represented to ASCs and to their patients in plan
                                    documents and marketing materials, including on United's website, that
                    9
                                    United prices the out-of-network ASC claims using an appropriate
                   10               method for determining UCR, when in fact the methods used by United
                                    to price claims do not appropriately determine UCR.
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~~~;;;             12            c. United falsely represented on EGBs and other documents that it priced
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                                    the out-of-network ASC claims by determining the UCR rate. For
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                                    example, the EGBs typically stated that "The reasonable charge is
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                                    based on amounts charged by other providers for similar services or
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                   15               supplies," or some similar language which in the industry context
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                                    meant UCR reimbursement. Those representations were in fact false in
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   .I-...Im        16               that United did not determine reimbursement rates to out-of-network
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a.UzO              17               ASCs by comparing each ASC's charges with the charges of other
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                                    ASCs for similar services or supplies. United has admitted that it
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           W       18               simply calculated ASC rates based upon multiples of "highest in-
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                   19               network rates," Medicare reimbursement schedules or some other
                                    method that is inappropriate for determining UCR.
                   20
                   21            d. United falsely represented that it had priced the ASCs claims using the
                                    Ingenix Database. United has now admitted that those representations
                   22               were in fact false in that the Ingenix Database was not used to price
                   23               most ASC claims.

                   24            e. United falsely represented to ASCs and to their patients that the
                   25               patients owed amounts to the ASCs - the difference between the ASC's
                                    charges and the amounts paid by Defendants - when in fact the patients
                   26               did not owe such amounts to the ASCs. By improperly pricing the
                   27               reimbursement rates to the out-of-network ASCs, United has illegally
                                    and improperly shifted the liability of paying the claims from
                   28

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                        1                 themselves to the members.
                        2
                                   144. Other matter and things sent through or received from the Postal
                        3
                            Service, commercial carrier or interstate wire transmission by United Defendants
                        4
                            included information or communications in furtherance of or necessary to effectuate
                        5
                            the scheme.
                        6
                                   145. Each such use of the mails and each interstate wire communication in
                        7
                            furtherance of the fraudulent scheme violated the federal mail fraud and federal wire
                        8
                            fraud statutes, 18 U.S.C. §§ 1341 and 1343.
                        9
                                  146. The United Defendants' false statements, acts of concealment and
                       10
                            failures to disclose were knowing and intentional, had the design and effect of
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                            preventing a meaningful evaluation and review of their grounds for benefit
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                            determinations, and were otherwise made for the purpose of deceiving ASCs and
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          -     -           their patients as part of an ongoing scheme by the Enterprise to underpay out-of-
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z>-u_                              147. As fiduciaries and administrators of various health plans, the United
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                            Defendants occupied and continue to occupy a position of trust, by which they must
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                            accurately represent the terms and conditions of the plans, and to disclose all
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                I-          material facts concerning how plan benefits are priced and determined.
                       19
                            Nonetheless, the United Defendants either knew or recklessly disregarded the fact
                      20
                            that the false statements and omissions described above were material, and that the
                       21
                            ASCs, as well as their patients, would and did detrimentally rely on such false
                      22
                            statements and omissions when deciding to provide services, and during the claims
                      23
                            adjudication and appeal process.
                      24
                                                      Pattern of Racketeering Activity
                      25
                                  148. The United Defendants have engaged in a "pattern of racketeering
                      26
                            activity," as defined by 18 U.S.C. § 1961(5), by committing or aiding and abetting
                      27
                            in the commission of at least two acts of racketeering activity, i.e., indictable
                       28

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              1 violations of 18 U.S.C. §§ 664, 1341 and 1343, as described above, during the Class

              2   Period. In fact, each of the United Defendants has committed or aided and abetted
              3 in the commission of numerous acts of racketeering activity. Each act of

              4 racketeering activity was related, had a similar purpose, involved the same or similar

              5 participants and method of commission, had similar results and impacted similar

              6   victims, including the Plaintiff Class.
              7          149. The United Defendants, including Ingenix, engaged in a pattern of
             8 racketeering by, among other things, making repeated false statements to Plaintiffs

             9    and the Plaintiff Class, as well as the members, that the members had out-of-
            10    network benefits that would be priced based on the UCR rate, and that the claims
            11    were correctly processed using UCR data, when in fact the claims were incorrectly
            12 processed using highest in-network rates, Medicare schedules, the flawed data in the

            13 Ingenix Database, or some other flawed method that did not take into account the

            14 correct UCR criteria. On a number of occasions, Plaintiffs communicated directly

            15 with Ingenix by telephone, and were falsely told that Ingenix had reviewed the claim

            16 and correctly determined the reimbursement amount based on UCR, when in fact

            17 that had not occurred.

            18          150. The multiple acts of racketeering activity which the United Defendants
            19 committed and/or conspired to commit, or aided and abetted in the commission of,

            20    were related to each other and amount to and pose a threat of continued racketeering
            21    activity, and therefore constitute a "pattern of racketeering activity" as defined in 18
            22    U.S.C. § 1961(5).
            23          151. The illegal predicate acts in this case satisfY both the "closed-ended
            24 continuity" or the "open-ended continuity" tests. Allwaste, Inc. v. Hecht, 65 F. 3d
            25 1523, 1527 (9th Cir. 1995). The illegal predicate acts in this case satisfy the
            26 "closed-ended continuity" test because they span a "substantial period of time."
            27 Plaintiffs are informed and believe that United has improperly priced and paid out-
            28 of-network ASC claims thousands of times for many years. The illegal predicate

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                     1 acts in this case satisfy the "open-ended continuity" test because United's "past
                     2 conduct ... by its nature projects into the future with a threat of repetition."
                     3 Allwaste, supra, 65 F. 3d at 1528. The predicate acts specifically threaten repetition
                     4 and have become a "regular way of doing business." Allwaste, supra, 65 F. 3d at
                     5 1528. In this case, the United Defendants' illegal actions are continuing even to this
                     6 day, and will not cease unless enjoined by this Court. Indeed, it has become a
                     7 "regular way of doing business" for United to systematically underprice and
                     8 undelpay out-of-network ASC claims, and then to (a) falsely misrepresent they are

                     9 using appropriate UCR data to price the claims, including that they are using the
                    10 Ingenix Database when in fact they are not, and (b) falsely represent their members'
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                    11   plan benefits and their members' financial responsibility for more than is provided
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                    12 under the terms of the patients' health benefits plan.
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 :J 0 -             13         152. There are too many examples of United Defendants' predicate acts to
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otll z ><           14 detail individually in this complaint without being cumulative. However, the
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b~~:                15 following are illustrative examples of predicate acts committed by Defendants in
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                    16 furtherance of their fraudulent scheme:
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Q..UzO              17                a.    Patient 6 came to Downey for a laparoscopy, hysteroscopy, and
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              W     18 other surgical procedures. On September 9,2005, Downey called United to verify
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                    19 Patient 6' s eligibility and benefits. Downey spoke with a representative named
                    20 "Kim," who provided the verification that out-of-network benefits through the
                    21 Cintas Plan would be paid at "60%" of UCR, and confirmed that there was no flat
                    22 fee rate or allowed amount for the out-of-network outpatient surgery services.
                    23 Thereafter, in reasonable reliance on this representation that Downey would be
                    24 reimbursed at 60% ofUCR, Downey provided its services to Patient 6. The total
                    25 charges for Downey's services were $17,346.51. Yet, in the EOB that United sent
                    26 to Downey on February 21, 2006, more than three months after Downey submitted
                    27 the claim, United stated that the "Amount Allowed" was only $1,123.08, and paid
                    28 only $193.85 - or approximately 1.1 % of the total charges - for the services

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                          1 provided to Patient 6. The EOB stated merely that the plan covers reasonable
                          2 charges, which, according to the EOB, was based on "amounts charged by other
                          3 providers for similar services or supplies," and that "payment of benefits has been
                          4 made in accordance with the terms of the managed care system." Thus, United
                          5 represented that the reimbursement was based on UCR, when in fact, according to
                          6 United's statements in this litigation, the reimbursement was calculated using the
                         7 "highest in-network rate" methodology. The claim was appealed, and on May 8,
                         8 2006, United responded in a letter stating that "reasonable and customary charge"

                         9 had been determined using the Ingenix Database, and specifically misrepresented
                        10 that the Ingenix Database "takes into account all pertinent factors," even though

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                 o:J    11   United knew that the Ingenix Database was flawed, was not designed to price
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~-~~                    12 claims, and did not take into account "all pertinent factors." Furthermore, to the
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:::EUlO)C')             13   extent that the Ingenix Database was not used to process the claim, but rather was
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                        14 processed using solely the "highest in-network rate" methodology, as claimed by
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6~~:                    15 United in this litigation, then the May 8, 2006 letter constituted a blatantly false and
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   • I- ..J      111    16 fraudulent statement on which Downey relied to its detriment.
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0111<;;:;                                b.     Patient 7 came to Downey for an EGD and other procedures. On
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I::::g.:.i              18 June 7, 2007, Downey called United to verify Patient 7's eligibility and benefits.
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                        19 Downey spoke with a representative named "Nathan," who provided the verification
                        20 that out-of-network benefits through the Zale Plan would be paid at "60%" ofUCR,
                        21 and confirmed that there was no flat fee rate or allowed amount for the out-of-
                        22 network outpatient surgery services. Thereafter, in reasonable reliance on this
                        23 representation that Downey would be reimbursed at 60% of UCR, Downey provided
                        24 its services to Patient 7. The total charges for Downey's services came to
                        25 $12,752.00. Yet, in the EOB that United sent to Downey on July 31, 2007, United
                        26 stated that the "Amount Allowed" was only $1,947.00, and paid only $568.20 - or
                        27 approximately 4.4% of the total charges - for the services provided to Patient 7.
                        28 The EOB stated merely that the plan covers reasonable charges, which, according to

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                    1   the EOB, was based on "amounts charged by other providers for similar services or
                    2   supplies," and that "payment of benefits has been made in accordance with the terms
                    3 of the managed care system." Thus, United represented that the reimbursement was

                    4 based on UCR, when in fact, according to United's statements in this litigation, the

                    5 reimbursement was calculated using the "highest in-network rate" methodology. On

                    6   November 16,2007, in Downey's efforts to challenge the underpayment, a
                    7 representative of United told Downey by telephone that Downey needed to speak
                    Q
                    u   with Ingenix regarding the status of the appeal. This demonstrates that Ingenix \vas
                    9 not only being used to price the claim at the outset, but also to handle the "appeals."

                   10 Downey's calls to Ingenix went unanswered, and none of the Defendants explained

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             00    11 to Downey the true nature of Ingenix or its systems for determining the
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_-,If)             12 reimbursement amounts. United deprived Downey of the knowledge whereby it
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  Ul (J) C'1      13    could reasonably challenge the flawed methodology that Ingenix used by which it
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OUlZX              14 failed to properly determine UCR. On November 27,2007, Downey received a
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6«~-               15 letter from United simply stating that the claim had been processed correctly and
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                   16 that "no further payment is due," without providing any substantive reasons as to
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Om«;;;             17 why. The letter omitted any reference to Ingenix, even though the flawed Ingenix
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            W     18 methodology for calculating out-of-network claims served as the improper basis for
            I-


                  19 determining not to pay Downey at the correct UCR rates.
                  20                c.     Patient 8 came to Downey for a umbilical hernia and
                  21 hemorrhoIdectomy. On February 20,2007, Downey called United to verify Patient
                  22 8's eligibility and benefits. Downey spoke with a representative named "Maria,"
                  23 who provided the verification that out-of-network benefits through the Allied Plan
                  24 would be paid at "60%" of UCR, and confirmed that there was no flat fee rate or
                  25 allowed amount for the out-of-network outpatient surgery services. Thereafter, in
                  26 reasonable reliance on this representation that Downey would be reimbursed at 60%
                  27 ofUCR, Downey provided its services to Patient 8. The total charges for Downey's
                  28 services were $15,520.95. Yet, in the EOB that United sent to Downey on May 22,

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                       1 2007, more than two months after Downey submitted the claim, United stated that

                       2 the "Amount Allowed" was only $6,051.00, and paid only $3,399.60 - or

                       3 approximately 21 % of the total charges - for the services provided to Patient 8. The

                       4 EOB stated merely that the plan covers reasonable charges, which, according to the

                       5 EOB, was based on "amounts charged by other providers for similar services or

                       6 supplies," and that "payment of benefits has been made in accordance with the terms

                       7 of the managed care system." Thus, United represented that the reimbursement was

                       8 based on UCR, when in fact, according to United's statements in this litigation, the

                       9 reimbursement was calculated using the "highest in-network rate" methodology.

                      10 The claim was appealed. In handling the appeal, United consulted Ingenix and its

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               Ol     11   process. On October 3, 2007, United responded in a letter stating that "reasonable
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_-,111                12 and customary charge" had been determined using the Ingenix Database, and
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~01OlC'1             13 specifically misrepresented that the Ingenix Database "takes into account all
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                     14 pertinent factors," even though United knew that the Ingenix Database was flawed,
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b~~:                 15 was not designed to price claims, and did not take into account "all pertinent
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 • f-    ..J   111   16 factors." Furthermore, to the extent that the Ingenix Database was not used to price
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0111«;;;             17 the claim, but rather was priced using solely the "highest in-network rate"
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               W     18 methodology, as claimed by United in this litigation, then the October 3, 2007 letter
               f-

                     19 constituted a blatantly false and fraudulent statement on which Downey relied to its

                     20    detriment.
                     21                 d.    Patient 9 came to Downey for a colonoscopy with possible
                     22 biopsy. On May 12, 2009, Downey called United to verify Patient 9's eligibility

                     23    and benefits. Downey spoke with a representative named "Karen," who provided
                     24 the verification that out-of-network benefits through the GE Plan would be paid at

                     25 "80%" ofUCR, and confirmed that there was no flat fee rate or allowed amount for

                     26 the out-of-network outpatient surgery services. Thereafter, in reasonable reliance on

                     27 this representation that Downey would be reimbursed at 80% ofUCR, Downey

                     28 provided its services to Patient 9. The total charges for Downey's services for the

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              1   pertinent date of service were $12,684.00. Yet, in the EOB that was sent jointly by
              2   United and General Electric to Downey on July 14,2009, nearly two months after
              3 Downey submitted the claim, United and General Electric stated that the "Amount

              4   Allowed" was only $2,043.00, and paid only $1,354.40 - or approximately 10% of
              5 the total charges - for the services provided to Patient 9. The EOB stated merely

              6   that the plan covers reasonable charges, which, according to the EOB, was based on
              7 "amounts charged by other providers for similar services or supplies," and that

              8 "payment of benefits has been made in accordance with the terms of the managed

              9 care system." Thus, United and GE represented that the reimbursement was based

             10 on UCR, when in fact, according to United's statements in this litigation, the

             11 reimbursement was calculated using the "highest in-network rate" methodology.

             12 When Downey called United to challenge its determination of the Allowable

             13   Amount, Downey was told that the amount had been determined by Ingenix based
             14 on UCR for similar facilities in the area, even though United and GE knew that the

             15 appropriate UCR criteria was not used to reimburse the claim.

             16                e.     Patient 10 came to Downey for an endoscopy procedure with
            17 biopsy. In reasonable reliance on United's representation that the Parker Plan would

            18 reimburse according to 60% of UCR, Downey provided its services to Patient lOon

             19 July 24, 2009. The total charges for the service were $13,405.45. When the claim

            20    was underpaid at only $865.80, and the explanation in the EOB regarding the
            21    method for pricing the claim stated that the plan covered "reasonable charges" based
            22    on amounts charged by other providers for similar services or supplies," Downey
            23    and the patient appealed. In handling the appeal, Plaintiffs are informed and believe
            24    that United consulted Ingenix and its process. On July 20, 2009, United responded
            25    in a letter stating that the plan covers "Reasonable and Customary (R&C) charges,"
            26    and that United's process for determining R&C charges is based on the Ingenix
            27    Database and the "pertinent factors" that it takes into account, as derived from a
            28    database of provider-billed charges for professional healthcare services. United thus
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                    1   specifically misrepresented that the Ingenix Database accurately determines UCR,
                    2   even though United knew that the Ingenix Database was flawed, was not designed to
                    3 price claims, and did not take into account all the pertinent UCR factors.

                    4   Furthermore, to the extent that the Ingenix Database was not used to process the
                    5 claim, but rather was processed using solely the "highest in-network rate"

                    6 methodology, as claimed by United in this litigation, then the July 20, 2009 letter

                    7 constituted a blatantly false and fraudulent statement on which Downey relied to its

                    8 detriment.

                    9                f.    Patient A came to Tarzana for a circumcision procedure. In
                   10 reasonable reliance on United's representation that the AT&T Plan would reimburse

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            -      11   according to 70% of "Eligible Expense," which given the industry context Tarzana
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        m9         12 was reasonably led to believe meant 70% of UCR, Tarzana provided its services to
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::ttllOl(')        13 Patient A on August 12, 2008. The total charges for Tarzana's services for the
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                   14 pertinent date of service were $16,000.00. When the claim was underpaid at only
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b~~:               15 $2,831.50, and the explanation in the EOB regarding the method for pricing the
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                   16 claim stated that the plan covered "reasonable charges" "based on amounts charged
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a..uz o            17 by other providers for similar services or supplies," Tarzana and the patient
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            W      18 appealed. In handling the appeal, Plaintiffs are informed and believe that United
            f-

                   19 consulted Ingenix and its process. On July 20, 2009, United responded in a letter
                   20 stating that the plan pays "70 percent of Reasonable and Customary (R&C) charges
                   21   for Covered Services" and that United's process for determining R&C charges is
                   22 based on Ingenix, who "has developed database expertise using benchluarking-tools,
                   23 including the actual and derived charge database produced called the Prevailing
                  24 Healthcare Charges System (PHCS)." The letter then went into great detail about
                   25 how the Ingenix Database supposedly works. United thus specifically
                   26 misrepresented that the Ingenix Database accurately determines UCR, even though
                   27 United knew that the Ingenix Database was flawed, was not designed to price
                   28 claims, and did not take into account all the pertinent UCR factors. Furthermore, to

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                     1   the extent that the Ingenix Database was not used to process the claim, but rather
                     2   was processed using solely the "highest in-network rate" methodology, as claimed
                     3 by United in this litigation, then the July 20, 2009 letter constituted a blatantly false

                     4   and fraudulent statement on which Tarzana relied to its detriment.
                     5                g.    Patient B came to Tarzana for an arthroscopy and shoulder
                     6 surgery. In reasonable reliance on United's representation that the Best Buy Plan
                     7 would reimburse according to "60% ofUCR," Tarzana provided its services to
                     8 Patient B on October 15,2008. The total charges for Tarzana's services forthe

                     9 pertinent date of service were $32,352.00. When the claim was underpaid at only
                    10 $9,336.00, and the explanation in the EOB regarding the method for pricing the

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                    11   claim stated that the plan covered "reasonable charges" "based on amounts charged
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_-,111              12 by other providers for similar services or supplies," Tarzana and the patient
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::E   Ul 01 O'l     13   appealed. In handling the appeal, Plaintiffs are informed and believe that United
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                    14 consulted Ingenix and its process. On August 10,2009, United responded in a letter
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b~~::               15 stating that the plan pays based on a determination of "reasonable and customary
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                   16 (R&C) charges," which had been determined using the Ingenix Database. United
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01l1«;;j           17 specifically misrepresented that the Ingenix Database "takes into account all
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              W    18 pertinent factors," even though United knew that the Ingenix Database was flawed,
              I-

                   19 was not designed to price claims, and did not take into account "all pertinent
                   20 factors." Furthermore, to the extent that the Ingenix Database was not used to
                   21 process the claim, but rather was processed using solely the "highest in-network
                   22 rate" methodology, as claimed by United in this litigation, then the August 10, 2009
                   23 letter constituted a blatantly false and fraudulent statement on which Tarzana relied

                   24 to its detriment.
                   25                h.     Patient C came to Tarzana for a hysterectomy. In reasonable
                   26 reliance on United's representation that the lC. Penney Plan reimbursed according
                   27 to 60% ofUCR, Tarzana provided its services to Patient C on April 8,2009. The
                   28 total charges for Tarzana's services for the pertinent date of service were

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              1   $23,709.00. When the claim was underpaid at only $2,831.40, Tarzana and the
              2   patient appealed. In handling the appeal, Plaintiffs are informed and believe that
              3 United consulted Ingenix and its process. On November 19,2009, United

              4 responded in a letter stating that the plan pays based on a determination of

              5 "reasonable and customary (R&C) charges," which had been determined using the

              6   Ingenix Database. United specifically misrepresented that the Ingenix Database
              7   "takes into account all pertinent factors," even though United knew that the Ingenix
              8 Database was flawed, was not designed to price claims, and did not take into

              9 account "all pertinent factors." Furthermore, to the extent that the Ingenix Database

             10 was not used to process the claim, but rather was processed using solely the "highest

             11   in-network rate" methodology, as claimed by United in this litigation, then the
             12 August 10, 2009 letter constituted a blatantly false and fraudulent statement on

             13 which Tarzana relied to its detriment.

             14                                           Injury
             15          153. Each of the Plaintiff Class members has been injured in its business and
             16   property as a proximate result of the United Defendants' violation of 18 U.S.C. §
            17    1962(c), in that the Plaintiff Class members provided services to members as a result
            18 of the United Defendants' fraudulent statements about out-of-network benefits, and

            19 have been underpaid substantial sums for the services rendered to plan members in

            20    justifiable reliance on the fraudulent communications they received from the United
            21    Defendants concerning pricing and payment of out-of-network benefits.
            22           154. By reason of this violation of 18 U.S.C. § 1962(c), the United
            23    Defendants are jointly and severally liable for three times the damages the Plaintiff
            24    Class members have sustained, plus costs in this suit, including reasonable
            25    attorneys' fees.
            26

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                   1                           SECOND CLAIM FOR RELIEF
                   2                           Violations of 18 U.S.C. § 1962(d)
                   3
                                   (On Behalf Of Downey, Tarzana And The Plaintiff Class)
                                      (Against All Defendants And The Defendant Class)
                   4
                   5         155. The allegations of the prior paragraphs of the Amended Complaint are

                   6 hereby repeated as if fully set forth herein.
                   7         156. During the Class Period, the United Defendants and Defendant Class
                   Q
                   u
                       members, including the Representative ERISA Plan Defendants, engaged in a

                   9 conspiracy to which all of them agreed, and in which all of them participated,
                  10 directly or indirectly, in the conduct of the affairs of the Enterprise. The object of
           -      11
                       the conspiracy was to underpay claims for services rendered by out-of-network
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UOlil '                ASCs, as described above. The commonalities between the fraudulent statements
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                       made to the Plaintiff Class, and the inappropriate methodologies used to underprice
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                  14 and underpay claims for services rendered to patients who are members of plans
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                  15 insured by United and/or who are beneficiaries of the Defendant Class' plans,
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                  16 establishes the existence of the conspiracy to violate 18 U.S.C. § 1962(c).
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a..UzO            17         157. Each of the Defendants, including each member of the Defendant
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                  18 Class, agreed to the commission of a pattern of racketeering activity through the
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                  19 Enterprise as described above, and agreed to the operation and management of the
                 20 Enterprise.
                 21          158. The United Defendants, and each of them, agreed that they would

                 22 handle the administering of claims, and in the process make false representations
                 23 through the interstate mail and wire channels concell1ing the manner in which out-
                 24 of-network ASC claims are priced.
                 25          159. The Defendant Class members, including each of the Representative

                 26 ERISA Plan Defendants, all of whom had fiduciary duties to ensure that claims are
                 27 properly priced and paid, knew that United priced out-of-network ASC claims in a
                 28 manner that did not conform with the ERISA plans and the Defendants'

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              1   representations concerning UCR. Plaintiffs are informed and believe that the
              2   Defendant Class members, including each of the Representative ERISA Plan
              3 Defendants, knew that United made the above-described false representations

              4 regarding the pricing of claims, agreed to make benefits payments and payment

              5 funding based on United's incorrect pricing, and also agreed to conceal the truth

              6   about United's pricing policies and methodologies to the extent that claims were
              7 appealed to the Defendant Class, or they were otherwise involved in the claims
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              8   auilllnIstratlon process.
              9          160. Each of the Defendants was aware of the existence of the overall
             10   scheme and of the participation of others in it, and that the benefits of each were
             11   dependent on the success of the broader fraudulent venture to systematically
             12 underpay out-of-network ASCs by use of flawed data and methodologies that

             13 avoided properly paying based on UCR. In furtherance of this conspiracy, the

             14   United Defendants committed the predicate acts alleged above, and the Defendant
             15 Class agreed to United's predicate acts, and furthermore backed up United's

             16   fraudulent statements through their involvement in the claims process, and paid
            17 benefits in accordance with United's fraud.

            18           161. Plaintiffs and the Class members have been injured in their business
            19    and property as a proximate result of this violation of 18 U.S.C. § 1962(d), in that
            20    they have incurred significant costs to provide services to the plan members and
            21    have underpaid substantial sums for the services rendered to plan members.
            22           162. By reason of this violation of 18 U.S.C. § 1962(d), all of the
            23    Defendants are jointly and severally liable as co-conspirators for all of the damages
            24    sustained by Plaintiffs and the Class, trebled, plus costs in this suit, including
            25    reasonable attorneys' fees.
            26

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              1                              THIRD CLAIM FOR RELIEF
              2                    Enforcement Under 29 U.S.C. § 1132(a)(1)(B)
              3
                                     For Failure To Pay ERISA Plan Benefits
                              (On Behalf Of Downey, Tarzana And The Plaintiff Class)
              4                  (Against All Defendants And The Defendant Class)
              5
                         163. The allegations of the prior paragraphs of the Amended Complaint are
              6
                  hereby repeated as if fully set forth herein.
              7
                         164. This claim is alleged by Plaintiffs, for themselves and the Plaintiff
              8
                  Class, for relief in connection with claims for treatment rendered to patients covered
              9
                  by a health benefits plan governed by ERISA. This is a claim to recover benefits,
             10
                  enforce rights and clarify rights to benefits under 29 U.S.C. § 1132(a)(l )(B). The
             11
                  Plaintiff Class members have standing to pursue these claims as assignees of their
             12
                  patient's benefits under the "ERISA plans." As the assignees of benefits under the
             13
                  ERISA plans, the Plaintiff Class members became "beneficiaries" entitled to collect
             14
                  benefits under the terms of the ERISA plans, and were the "claimants" for purposes
             15
                  of the ERISA statute and regulations.
             16
                         165. ERISA authorizes actions under 29 U.S.C. § 1132(a)(l)(B) to be
             17
                  brought against the ERISA plans as entities and against the ERISA plans'
             18
                  administrators. Plaintiffs are informed and believe that the Representative ERISA
             19
                  Plan Defendants identified as "ERISA plans" earlier in this Amended Complaint are
            20
                  all ERISA plans. Therefore, these entities are proper defendants for this claim.
            21
                        166. Plaintiffs are informed and believe that the Representative ERISA Plan
            22
                  Defendants identified as "plan sponsors and/or plan administrators" earlier in this
            23
                  Amended Complaint are plan sponsors and/or designated plan administrators for the
            24
                  ERISA plans mentioned in the preceding paragraph. Therefore, these entities are
            25
                  proper defendants for this claim.
            26
                        167. The members of the Defendant Class not specifically named herein also
            27
                  are ERISA plans and/or plan administrators, and therefore are proper defendants for
            28

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              1   this claim.
              2          168. Plaintiffs are informed and believe that, with respect to certain ERISA
             3 plans at issue in this case, United HealthCare and/or UHIC insures it, sponsors it,

              4 funds it, serves as its designated plan administrator, and/or serves as the named plan

              5 administrator's "designee." Therefore, United HealthCare and UHIC are proper

              6   defendants for this claim.
              7          169. Plaintiffs are further informed and believe that, with respect to certain
              8 ERISA plans that are self-funded, but which do not specifically designate a plan

              9   administrator, each of the United Defendants plays a role in functioning as the de
             10 facto plan administrator. Therefore, each of the United Defendants is a proper

             11   defendant for this claim.
             12          170. Plaintiffs are further informed and believe that, with respect to those
             13 ERISA plans which designate one of the Representative ERISA Plan Defendants or

             14 members of the Defendant Class as the plan administrator, each of the United

             15 Defendants has functioned as a co-plan administrator. The United Defendants

             16   functioned and/or continue to function as plan administrators insofar as they have
             17 provided plan documents to participants, received benefit claims, evaluated and

             18 processed those claims, reviewed the terms of the plan, made initial benefit

             19   determinations, made and administered benefit payments, handled appeals of benefit
            20    determinations, and served as the primary point of contact for members and
            21    providers to communicate regarding benefits and benefit determinations.
            22           171. During the Class Period, the Plaintiff Class was entitled to
            23    reimbursement under the ERISA plans. The Defendants breached ERISA plan
            24    provisions for benefits by under pricing and underpaying the Plaintiff Class the out-
            25    of-network benefits covered under the ERISA plans. The Defendants' breaches
            26    included, among other things, interpreting and implementing the ERISA plan terms
            27    in a way that systematically was arbitrary and capricious, making material
            28    misrepresentations regarding the manner in which out-of-network benefits are
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                    1   priced, making false representations that out-of-network ASC claims were paid
                    2   based upon a comparison of each ASC's charges with amounts charged by other
                   3 ASCs for similar services or supplies,. using improper methodologies and systems to

                    4 miscalculate UCR, and systematically reducing benefits paid to out-of-network

                    5 ASCs for their services.

                    6         172. Plaintiffs and the other members of the Plaintiff Class are deemed to
                    7 have exhausted all administrative remedies available to them because Defendants

                   8 failed to establish and follow reasonable claims procedures as required by ERISA.

                    9   The Defendants have routinely failed to process claims submitted by the Plaintiff
                   10 Class in a manner consistent or substantially in compliance with ERISA regulations.
             ~


             co    11   29 C.F.R. § 2560.503-1. Among other things, the Defendants:
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_~,IJ)             12             •   failed to notify the Plaintiff Class members of benefit determinations
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~t/)0lC'1          13                 and review determinations within the required amount of time after
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                   14                 receipt of the claim or appeal;
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6~~:               15             •   failed to provide the specific reason or reasons for their benefit
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                   16                 determinations or review determinations, including information
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a..uz o            17                 concerning the flawed Ingenix methods used for pricing out-of-
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             W     18                 network ASC claims;
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                   19             •   failed to make reference to the specific plan provisions on which their
                  20                  benefit determinations or review determinations were based;
                  21              • made materially false and misleading statements concerning their
                   22                 methods for determining the allowable amount, and refused to disclose
                   23                 the true internal rules, guidelines, protocols and criteria that were
                  24                  relied upon in making the benefit and review determinations;
                  25              •   failed to provide the Plaintiff Class members with a sufficient
                   26                 description of the plan's review procedures;
                  27              •   denied the Plaintiff Class members the right to appeal benefit
                   28                 determinations;

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              1             • failed to provide review of appeals that did not afford deference to the
              2                initial benefit determination, and which was conducted by an
             3                 appropriate named fiduciary of the plan who is independent of the
              4                person who made the initial benefit determination;
              5             • employed policies designed to unduly hamper the appeal of claims
              6                submitted by the Plaintiff Class members, including through their
              7                systematic reliance on inappropriate data;
              8             • denied the efforts of the Plaintiff Class members the right to become
              9                sufficiently acquainted with the terms of the ERISA plan, as well as
             10                the Defendants' true methods of determining UCR, thereby rendering
             11                the administrative appeal a futile and meaningless endeavor.
             12         173. The following examples illustrate how Downey's claims are deemed
             13   exhausted:
             14                a.    Downey submitted the claim for Patient 6 to United on or about
             15 November 1,2005, and submitted medical records in support of the claim no later

             16 than November 22,2005. By December 22,2005, Downey had not received any

             17 benefit determination on the claim, and therefore contacted United to inquire on the

             18 status. Downey was told by United on December 22, 2005, and again on December

             19 28,2005, that medical records had been received and were being reviewed by

            20    Ingenix. However, by mid-January 2006 Downey still had not received a benefit
            21    determination on the claim, and had not received any request from United for
             22   additional information to process the claim. When Downey contacted United on or
            23    about January 18, 2006, United told Downey that medical records were not on file
            24    and had to be resubmitted, notwithstanding United's earlier representation that
             25   Ingenix was reviewing the medical records. Finally, on February 21,2006, nearly
            26    four months after Downey submitted the claim, Downey received an EOB from
            27 United, in which the "Amount Allowed" was stated as $1,123.08, with a payment of

            28    $193.85 - or approximately 1.1% of the billed charges on the claim. The EOB

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                     1 stated merely that the plan covers reasonable charges, which, according to the EOB,

                     2   was based on "amounts charged by other providers for similar services or supplies,"
                     3 and that "payment of benefits has been made in accordance with the terms of the

                     4   managed care system." There was no reference to any specific plan provision. Nor
                     5 did the EOB provide any notice of appeal rights or appeal procedures, even though

                     6 United had accepted the claim from Downey, had made payment directly to

                     7 Downey, and thereby acknowledged Downey's status as the claimant. Downey was

                     8 able to learn the address for submitting appeals to United, and on March 29, 2006,

                     9   caused an appeal to be submitted to United stating that the allowed amount was
                    10 inconsistent with representations by United that the plan would cover 60% ofUCR.

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              co   11    On May 8, 2006, United responded in a letter to Patient 6 that the claim supposedly
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LUlO101            13 charge" had been determined using the Ingenix Database, and specifically
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                   14 misrepresented that the Ingenix Database "takes into account all pertinent factors,"
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6~~:               15 even though United knew that the Ingenix Database was not used to price the claim
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  . f- ..J 1!1     16 and that none of the pertinent UCR factors were taken into account. United now
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o..uzo             17 admits for the first time in this litigation that the appeal letter was false, and that the
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              W    18 claim was actually priced using the "highest in-network rate" methodology. Neither
              f-
                   19 the EOB nor the appeal denial letter disclosed the use of such methodology; to the
                   20 contrary, they both made materially false statements that the claim had been priced
                   21 by correctly determining the UCR rate. Thus, further appeal of this claim would
                   22 have been pointless and futile because Downey was not provided with the true basis
                   23 for the review determinations, and therefore had no way of knowing what to appeal.
                   24 Moreover, Plaintiffs are informed and believe that Ingenix, who handled the initial
                   25 benefit determination, either conducted or was consulted in the appeal review.
                   26 Plaintiffs are informed and believe that Ingenix would have conducted or have been
                   27 consulted in any further appeal, thus rendering the appeal process unfairly
                   28 deferential to the initial benefit determination.

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                  1                b.     In the EOB that United Healthcare sent to Downey on July 31,
                  2 2007, for Patient 7, United stated that the "Amount Allowed" was only $1,947.00,
                 3 and paid only $568.20 - or approximately 4.4% of the total charges - for the
                  4 services provided to Patient 7. The EOB stated merely that the plan covers
                  5 reasonable charges, which, according to the EOB, was based on "amounts charged
                  6 by other providers for similar services or supplies," and that "payment of benefits
                  7 has been made in accordance with the terms of the managed care system." On
                  8 November 16,2007, in Downey's efforts to challenge the underpayment, a
                  9 representative of United told Downey by telephone that Downey needed to speak
                10 with Ingenix regarding the status of the appeal. This demonstrates that Ingenix was

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           00    11   not only being used to price the claim at the outset, but also to handle the "appeals."
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_-,U1           12 Downey's calls to Ingenix went unanswered, and none of the Defendants explained
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                13 to Downey the true nature of Ingenix or its process for pricing the claim. United
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otllZX          14 and Ingenix deprived Downey of the knowledge whereby it could reasonably
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6«~-            15 challenge the flawed methodology that Ingenix used for determining UCR. On
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                16 November 27,2007, Downey received a letter from United simply stating that the
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Q.Uz O          17 claim had been processed correctly and that "no further payment is due," without
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        W       18 providing any substantive reasons as to why.
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                19                 c.     Plaintiffs are informed and believe that Patient 11 is a member of
                20 the Cingular Plan. Patient 11 came to Downey for hysteroscopy and other
                21 procedures. On March 30, 2007, Downey called United to verifY Patient II's
                22 eligibility and benefits. Downey spoke with a representative named "Scarlett," who
                23 provided the verification that out-of-network benefits would be paid at "80%" of
                24 UCR, and confirmed that there was no flat fee rate or allowed amount for the out-of-
                25 network outpatient surgery services. Thereafter, in reasonable reliance on this
                26 representation that Downey would be reimbursed at 80% of UCR, Downey provided
                27 its services to Patient 10. The total charges for Downey's services came to
                28 $16,560.19. Downey submitted the claim to United on or about April 15, 2007. On

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                         1   May 8, 2007, United sent Downey an EOB that did not contain a benefit
                         2   determination, but rather said: "The medical documentation that was submitted with
                         3 this claim has been forwarded for review. We will process this claim when the

                         4   review has been completed." By June 22, 2007, Downey still had not received a
                         5 benefit determination on the claim. When Downey called United to inquire about

                         6   the status, Downey was told that it needed to submit medical documentation, even
                         7   though United had never made a written request for additional medical
                         8 documentation, and had in fact already notified Downey in writing that United had

                         9 received medical documentation for review. Downey nonetheless resubmitted
                        10 medical documentation. Finally, on August 21,2007, more than four months after

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                 ro     11 submitting the claim, Downey received an EOB from United with an allowed
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                        13   charges. The EOB stated merely that the plan covers reasonable charges, which,
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                        14 according to the EOB, was based on "amounts charged by other providers for
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b~~:                    15 similar services or supplies," and that "payment of benefits has been made in
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 • I-     ...J   111    16 accordance with the terms of the managed care system." There was no reference to
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o..uz o                 17 any specific plan provision. Nor did the EOB provide any notice of appeal rights or
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                 W     18 appeal procedures, even though United had accepted the claim from Downey, had
                 I-

                        19 made payment directly to Downey, and thereby acknowledged Downey's status as
                       20 the claimant. Downey was able to learn the address for submitting appeals to
                       21 United, and on September 19,2007, caused an appeal to be submitted to United
                       22 challenging the purported UCR determination. On October 25,2007, United
                       23 responded in a letter to Patient 10 that the claim supposedly was paid correctly. The
                       24 letter expressly stated that "reasonable and customary charge" had been determined
                       25 using the Ingenix Database, and specifically misrepresented that the Ingenix
                       26 Database "takes into account all pertinent factors," even though United knew that
                       27 the Ingenix Database was not used to price the claim. United now admits that the
                       28 appeal denial letter was false, and that the claim was actually priced using the

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             1   "highest in-network rate" methodology. Neither the EOB nor the appeal denial
             2   letter disclosed the use of such methodology; to the contrary, they both made
             3 materially false statements that the claim had been priced by correctly determining

             4 the UCR rate. Thus, further appeal of this claim would have been pointless and

             5   futile because Downey was not provided with the reasons or basis for the review
             6   determinations, and therefore had no way of knowing what to appeal. Moreover,
             7 Plaintiffs are informed and believe that Ingenix, who handled the initial benefit

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             9 informed and believe that Ingenix would have conducted or have been consulted in

            10 any further appeal, thus rendering the appeal process unfairly deferential to the

            11   initial benefit determination.
            12               174. The following examples illustrate how Tarzana's claims are exhausted:
            13                    a.                 Patient A came to Tarzana for a circumcision procedure. In
            14 reasonable reliance on United's representation that the AT&T Plan would

            15 reimbursed according to 70% of "Eligible Expense," which Tarzana was led to

            16 believe meant 70% of UCR, Tarzana provided its services to Patient A on August

            17   12, 2008. The total charges for Tarzana's services for Patient A were $16,000.00.
            18 When the claim was underpaid at only $2,831.50, and the explanation in the EOB

            19 regarding the method for pricing the claim stated that the plan covered "reasonable

            20   charges" "based on amounts charged by other providers for similar services or
            21   supplies," Tarzana and the patient appealed. In handling the appeal, Plaintiffs are
            22   informed and believe that United Healthcare consulted Ingenix and its process. On
            23   July 20, 2009, United Healthcare responded in a letter stating that the plan pays "70
            24   percent of Reasonable and Customary (R&C) charges for Covered Services" and
            25   that United's process for determining R&C charges is based on Ingenix, who "has
            26   developed database expertise using benclunarking-tools, including the actual and
            27 derived charge database produced called the Prevailing Healthcare Charges System

            28   (PHCS)." The letter then went into great detail about how the Ingenix Database

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              1 supposedly works. United thus specifically misrepresented that the Ingenix

              2   Database accurately determines UCR, even though United Healthcare knew that the
              3   Ingenix Database was flawed, was not designed to price claims, and did not take
              4 into account all the pertinent UCR factors. Furthermore, to the extent that the

              5 Ingenix Database was not used to process the claim, but rather was processed using

              6   solely the "highest in-network rate" methodology, as claimed by United in this
              7 litigation, then the July 20, 2009 letter constituted a blatantly false and fraudulent

              8   statement on \vhich Tarzana relied to its detriment.   ~,1oreover,   the letter stated all
              9   levels of appeal had been exhausted.
             10                b.     Patient B came to Tarzana for an arthroscopy and shoulder
             11   surgery. In reasonable reliance on United's representation that the Best Buy Plan
             12 would reimburse according to 60% ofUCR, Tarzana provided its services to Patient

            13 B on October 15,2008. The total charges for Tarzana's services for the pertinent

             14   date of service were $32,352.00. When the claim was underpaid at only $9,336.00,
            15 and the explanation in the EOB regarding the method for pricing the claim stated

            16    that the plan covered "reasonable charges" "based on amounts charged by other
            17 providers for similar services or supplies," Tarzana and the patient appealed. United

            18 gave Tarzana a run-around in accepting the appeal submission, and needlessly
            19 required Tarzana to submit the same information multiple times before United

            20    would process the appeal. In handling the appeal, Plaintiffs are informed and
            21    believe that United Healthcare consulted Ingenix and its process. On August 10,
            22    2009, United Healthcare responded in a letter stating that the plan pays based on a
            23    determination of "reasonable and customary (R&C) charges," which had been
            24    determined using the Ingenix Database. United specifically misrepresented that the
            25    Ingenix Database "takes into account all pertinent factors," even though United
            26    knew that the Ingenix Database was flawed, was not designed to price claims, and
            27    did not take into account "all pertinent factors." Furthermore, to the extent that the
            28    Ingenix Database was not used to process the claim, but rather was processed using
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                        1 solely the "highest in-network rate" methodology, as claimed by United in this
                        2 litigation, then the August 10, 2009 letter constituted a blatantly false and fraudulent
                        3 statement on which Tarzana relied to its detriment. Thus, further appeal of this
                        4 claim would have been pointless and futile because Tarzana was not provided with
                        5 the reasons or basis for the review determinations, and therefore had no way of
                        6 knowing what to appeal. Moreover, Plaintiffs are informed and believe that Ingenix
                        7 handled the initial benefit determination, and would have conducted or have been
                        8 consulted in any further appeal, thus rendering the appeal process unfairly

                        9 deferential to the initial benefit determination.
                       10                c.     Patient C came to Tarzana for a hysterectomy. In reasonable
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                 al    11   reliance on United's representation that the IC. Penney Plan reimbursed according
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                       12 to 60% of UCR, Tarzana provided its services to Patient C on April 8, 2009. The
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:a~~;;;                13   total charges for Tarzana's services for the pertinent date of service were
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OUlZX                  14 $23,709.00. When the claim was underpaid at only $2,831.40, Tarzana and the
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6~~-                   15 patient appealed. In handling the appeal, Plaintiffs are informed and believe that
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                       16 United consulted Ingenix and its process. On November 19, 2009, United
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a..uz o                17 responded in a letter stating that the plan pays based on a determination of
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             W        18 "reasonable and customary (R&C) charges," which had been determined using the
             I-

                       19 Ingenix Database. United specifically misrepresented that the Ingenix Database
                      20 "takes into account all pertinent factors," even though United knew that the Ingenix
                      21 Database was flawed, was not designed to price claims, and did not take into
                      22 account "all pertinent factors." Furthermore, to the extent that the Ingenix Database
                      23 was not used to process the claim, but rather was processed using solely the "highest
                      24 in-network rate" methodology, as claimed by United in this litigation, then the
                      25 August 10, 2009 letter constituted a blatantly false and fraudulent statement on

                      26 which Tarzana relied to its detriment.
                      27          175. The examples in the preceding paragraphs are typical of Plaintiffs'
                      28 claims, and Plaintiffs are informed and believe that they also are typical of claims

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                     1   submitted by the other Plaintiff Class members.
                     2           176. Plaintiffs also typically exhausted administrative remedies available to
                     3 them by extensively pursuing administrative relief before filing suit. Plaintiffs'

                     4 employees repeatedly sent appeal letters to United challenging the "allowable

                     5 amount" determination, and made numerous phone calls to United with respect to
                     6 each of its claims. Because Plaintiffs' direct appeals often went without a response

                     7  from United or the ERISA Plans, Plaintiffs frequently enlisted the assistance of the
                     8 1members
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                     9   administrative appeal efforts are typical of those of the other Plaintiff Class
                    10 members.

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             co     11           177.     Exhaustion also would have been futile. In light of the Defendants'
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~~,>,:;j            12 long-standing refusal to provide anything more than a cursory and false explanation
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::EtIlO'l(")        13   concerning Defendants' true methods for calculating UCR, and given their ongoing
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III «0:: «          14   and continued use of improper methodologies to underpay claims in a manner that
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6~~:                15 fails to comply with the ERISA plans, further exhaustion of Defendants' inadequate
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                    16 administrative remedies also would have been futile and meaningless.
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a.UzO               17           178. By reason of the foregoing, Plaintiffs and the Plaintiff Class are entitled
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             w      18 to past due benefits, future benefits, declaratory relief, prejudgment interest, and
             I-

                    19 attorneys' fees. The Court should specifically order the Defendants:
                    20               1) for each member of the Plaintiff Class, for each relevant time period, to
                                     compile a valid database of charges by the particular Plaintiff Class
                    21
                                     member and other ASCs in the same geographic area (the distance that
                    22               could reasonably be considered appropriate for a patient to travel in the
                    23
                                     same area);

                    24               2) to calculate past and future benefits pursuant to a valid database that
                                     takes into account valid data and the UCR factors of the rates charged by
                    25
                                     the provider and other ASCs in the same geographic area at the time;
                    26
                                     3) to determine the UCR rate for out-of-network ASCs without reference
                    27
                                     to contracted rates for in-network providers;
                    28

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                        1            4) to consider the UCR rate without reference to Medicare rates or
                                     schedules; and
                        2
                        3            5) to establish a fund to pay the correct UCR amounts to the Plaintiff
                        4
                                     Class members for past services that were underpaid;

                        5            6) to pay future claims at the correct UCR rates; and
                        6
                                     7) issue new EOBs for past claims, and correct EOBs for future claims,
                        7            that are in compliance with applicable regulatory notice standards.
                        8
                        9                           FOURTH CLAIM FOR RELIEF

                       10                    Enforcement Under 29 U.S.C. § 1132(a)(3)
                                                 For Full and Fair Review Of Claims
                 -
                 OJ    11              (On Behalf Of Downey, Tarzana And The Plaintiff Class)
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UOm<;J                                    (Against All Defendants And The Defendant Class)
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~1I}0lC'l              13         179. The allegations of the prior paragraphs of the Amended COlnplaint are
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                       14 hereby repeated as if fully set forth herein.
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b~~:                   15         180. This claim is alleged by Plaintiffs, for themselves and the Plaintiff
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                       16 Class, for relief in connection with claims for treatment rendered to patients covered
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a..uz o                17 by a health benefits plan governed by ERISA. This is a claim pursuant to 29 U.S.C.
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                 W     18 § 1132(a)(3), to redress the Defendants' failures to comply with 29 U.S.C. § 1133,
                 I-

                       19 the implementing regulations set forth at 29 C.F.R. § 2560.503-1, and federal
                       20 common law. The Plaintiff Class members have standing to pursue these claims as
                       21 assignees of their patient's benefits under the "ERISA plans." As the assignees of
                       22 benefits under the ERISA plans, the Plaintiff Class members became "beneficiaries"
                       23 entitled to collect benefits under the terms of the ERISA plans, and were the
                       24 "claimants" for purposes of the ERISA statute and regulations.
                       25         181. The Plaintiff Class is entitled to certain procedural protections
                       26 concerning the manner in which their claims are handled by ERISA fiduciaries,
                       27 including the specific reasons for the denial or partial denial of claims, and a "full
                       28 and fair review" of all denied or partially-denied claims. See 29 U.S.C. § 1133; 29

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                    1 C.F .R.   § 2560.503-1. Plaintiffs are informed and believe that the Defendant Class
                    2   delegated certain fiduciary claims handling responsibilities to United, including but
                    3 not limited to, the duty to accurately represent and disclose information concerning

                    4   pricing and reimbursement methods for out-of-network benefits. Plaintiffs are
                    5 informed and believe that the Defendant Class members retained certain fiduciary
                    6   claims handling responsibilities in their capacity as plan administrators, including
                    7   but not limited to involvement in appeals.
                    8           182. The Defendants failed to comply with their fiduciary obligations to
                    9 provide a "full and fair review" of denied or partially-denied claims pursuant to 29
                   10 U.S.C. § 1133 and 29 C.F.R. § 2560.503-1. Among other things, the Defendants
            -
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                   11   made representations to the Plaintiff Class members concerning benefits that were
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_-,mN -            12 inconsistent with, or unauthorized by, the terms of the ERlSA plans, and they failed
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;:EUlGlC')         13   to disclose their methodology and other critical information relating to benefit
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OUlZX              14 determinations for claims submitted by the Plaintiff Class.
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6~~:               15           183. When Plaintiff Class members contacted United to verify out-of-
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                   16 network benefits for plan members, United failed to truthfully disclose that the
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a.uz O             17 pricing of out-of-network benefits would be subject to the inappropriate
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           W       18 methodologies developed and used by Ingenix. Instead, United misrepresented to
            I-

                   19 the Plaintiff Class members that the plan would price benefits in accordance with
                   20 UCR.
                   21           184. When the Plaintiff Class members received EOBs from United and/or
                   22 members of the Defendant Class, these notices failed to disclose the reasons for the
                   23 benefits determination with sufficient specificity. Rather, they falsely stated that the
                   24 benefits had been calculated based on a correct calculation of the UCR rate, when in
                   25 fact benefits had been priced pursuant to inappropriate methodologies, such as the
                   26 "highest in-network rate" method. The EOBs also provided that benefits had been
                   27 determined in accordance with the member's plan, but without any written
                   28 explanation concerning the terms of the benefit plan or the methodology used to

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                     1 determine the amount of benefits. Furthermore, the EOBs sent to the Plaintiff Class
                     2 members typically failed to advise of any appeal rights.
                     3         185. When Plaintiff Class members attempted to appeal underpaid claims,
                     4 United often refused to accept the appeal, and incorrectly claimed that providers
                     5 lacked direct appeal rights. When United did accept appeals, it nonetheless still
                     6 failed to disclose the reasons for the benefits determination with sufficient
                     7 specificity. In many instances, United, pursuant to authorization given it by the
                     8 Defendant Class members, intentionally made false statements in letters responding
                     9 to appeals concerning the manner in which benefits had been determined. For
                    10 example, rather than disclose that it calculated benefits based on Medicare rates,

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             ([J    11   United falsely represented that it used the Ingenix Database to determine the UCR
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_-,lfl              12 rate. The Defendants' systematic false statements made it impossible for the
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                    13 Plaintiff Class members to obtain full and fair review of their claims.
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                    14         186. In sum, the Defendants denied the Plaintiff Class members the
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b~~:                15 opportunity to a "full and fair review" of the underpaid claims, inter alia, by:
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                    16              • failing to disclose the use of its true methodologies and resources
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                                      used to determine the benefit payments;
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            W       18              • misrepresenting the manner in which claims were priced;
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                    19
                                    • misrepresenting that the claims were reimbursed by comparing an
                    20                ASC charges with other ASCs' charges for similar services, in
                    21                accordance with UCR, when in fact reimbursements for the claims
                                      were not based upon such comparisons;
                    22
                    23              • failing to disclose with specificity the reasons for the adverse
                                      determinations with respect to appeal requests, and failing to cite
                    24                specific provisions of the plans that supported the determinations;
                    25
                                    • failing to promptly and timely provide Explanation of Benefits and
                    26
                                      responses to appeals;
                    27
                    28

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              1               •   failing to provide a review that did not defer to the initial adverse
              2
                                  benefit determination, which was based on improper methods for
                                  underpricing UCR reimbursement;
             3

              4               •   refusing to acknowledge the claimant status of out-of-network ASCs
                                  as assignees of the plan members, and denying them the right to
              5                   appeal claims through the plans' administrative procedures.
              6
                        187. The Defendants' failure to comply with the procedural requirements of
              7
                  ERISA, the Secretary of Labor's implementing regulations, the terms of ERISA
              8
                  plans, and/or the federal common law results in the administrative remedies of the
              9
                  Plaintiff Class members being deemed exhausted. See 29 C.F.R. § 2560.503-1(1).
             10
                  Moreover, a claim under ERISA Section 502(a)(3) to enforce the review
             11
                  requirements of ERISA Section 503 and the claims procedures regulations does not
             12
                  require the exhaustion of administrative remedies. See Chuck v. Hewlett Packard
             13
                  Co., 455 F.3d 1026, 1035 (9th Cir. 2005).
             14
                        188. By reasons of the foregoing, Plaintiffs and the Plaintiff Class are
             15
                  entitled to (1) a declaration by this Court that the Defendants' actions as alleged
             16
                  herein are in violation of their fiduciary duties and obligations under ERISA, (2) an
             17
                  injunction requiring the Defendants to comply with their fiduciary duties and
             18
                  obligations under ERISA, and (3) an order requiring that the Defendants provide the
             19
                  Plaintiff Class members the full and fair review of claims to which they are entitled
            20
                  for both past and future claims. Specifically, the Court should order the Defendants,
            21
                  and each of them, to:
            22
                                     1) disclose the true methodologies used to determine out-of-
            23                          network benefit payments for ASCs;
            24
                                     2) desist from misrepresenting the manner in which claims are
            25                          priced;
            26
                                     3) disclose with specificity the reasons for the adverse
            27                          determinations with respect to appeal requests, and cite the
            28                          specific provisions of the plans that support the determinations;

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                   1
                                        4) promptly and timely provide Explanation of Benefits and
                   2
                                           responses to appeals;
                   3
                                        5) provide a review that does not defer to the initial adverse
                   4
                                           benefit determination;
                   5
                                         6) acknowledge the claimant status of out-of-network ASCs as
                   6
                                            assignees of the plan members, and afford them the right to
                   7                        appeal claims through the plans' administrative procedures.
                   8

                   9
                                               FIFTH CLAIM FOR RELIEF
                            Violation of California Business & Professions Code §§ 17200 et seq.
                  10          (On Behalf Of Downey, Tarzana And The California Subclass)
            -     11
                                              (Against The United Defendants)
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_-,1J1            12         189. The allegations of the prior paragraphs of the Amended Complaint are
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~Ul(»(')          13 hereby repeated as if fully set forth herein.
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                  14         190. The United Defendants have engaged in unfair, unlawful and/or
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b~~:              15 fraudulent business acts and practices by, inter alia:
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                  16            a. committing violations of RICO, as alleged above;
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                                b. using arbitrary, capricious and improper methods to improperly
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            W     18               underprice out-of-network ASC claims;
            I-

                  19
                                c. submitting, accepting and using incomplete and scrubbed data to the
                  20               Ingenix Database such that it could not accurately determine UCR for
                  21               ASC claims;

                  22            d. making false and misleading statements in EOBs, RAs, and other
                  23               correspondence concerning the manner in which United priced the
                                   reimbursement amount for out-of-network ASC claims;
                  24
                  25            e. concealing and/or omitting material information in EOBs, RAs, and
                                   other correspondence concerning the manner in which United
                  26               determines the reimbursement amount for out-of-network ASC claims;
                  27
                                f. inducing the California Subclass members to provide services to plan
                  28

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                        1               members on the basis of representations that the Defendants would pay
                                        for the services at a particular percentage of UCR, when in fact the
                        2
                                        Defendants routinely and systematically underpaid for the services
                        3               without regard to a proper determination of UCR;
                        4
                                     g. routinely misrepresenting the reasonable and customary rates of out-of-
                        5               network ASC services to the members of the Defendant Class and other
                                        payors;
                        6
                        7            h. for those health plans that are governed by the California Department
                                        of Managed Health Care - failing to correctly and accurately apply the
                        8
                                        criteria used to calculate UCR rates as set forth in Title 28 of the
                        9               California Code of Regulations, section 1300.71(a)(3)(B), and by
                                        failing to comply with California Health and Safety Code § 1371 and
                       10
                                        28 C.C.R. § 1300.71 by knowingly, among other things, engaging in an
                -
                (fJ    11               "unfair payment pattern," including, but not limited to, delaying
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ztD N f -l             12               payment of claims, reducing the amount of payment and/or denying
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    • W I'- Ifl
Zl-tD-                                  payment of claims, failing on a repeated basis to pay uncontested
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      :JO-             13               portions of claims within the time period specified in Health and Safety
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                       14               Code §§ 1371 et seq., and not paying reasonable and customary rates.
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6~~::                  15         191. This conduct by the United Defendants constitutes illegal and unfair
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...J:JW.c.
  • I- ....J Ifl
                       16 business practices under California Business and Professions Code § 17200, et seq .
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Oll1-O:;;j             17 As a result of their acts of unfair competition, the United Defendants have and
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      -....J ....J
                W      18 continue to receive and retain monies that rightfully belong to the California
                I-

                       19 Subclass members as compensation for rendering covered, medically necessary

                       20 services to the plan members.
                       21         192. In addition, the United Defendants' unfair competition is likely to
                       22 continue absent judicial intervention. This conduct threatens not only the economic
                       23 well being and future viability of the California Subclass, but the health of the
                       24 public.
                       25         193. California Business and Professions Code § 17203 provides that any
                       26 court of competent jurisdiction may enjoin any person from engaging in unfair
                       27 competition and restore to any person who is a victim of that unfair competition any
                       28

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                      1 money acquired thereby. Plaintiffs seek, on behalf of themselves and the California
                      2 Subclass, restitution of an amount to be proved at trial, plus applicable statutory
                      3 interest, which is the amount that the United Defendants are obligated to pay the
                      4 California Subclass members for the services they provided to plan members. The
                      5 United Defendants should be specifically ordered to disgorge amounts which
                      6 represent the difference between what the Defendants paid the California Subclass
                      7 using the inappropriate methodologies for determining UCR, and the California
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                      9 Plaintiffs further seek, on behalf of themselves and the California Subclass, an
                    10 injunction prohibiting the United Defendants' ongoing conduct in using the
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                     11   inappropriate methodologies to underprice out-of-network ASC claims, reduce
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                     12   payment, deny payment and/or delay payment to the California Subclass for medical
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~UlO1('1            13 treatment provided to plan members. Furthermore, the injunction should force the
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   Wall..
                    14 United Defendants to correctly price past and future out-of-network ASC claims by
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b~~:                15 determining UCR based on appropriate UCR data.
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..J:JW.c.
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                    16            194. The legal remedies of the California Subclass are inadequate in that the
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a..uz o              17 United Defendants' unfair, unlawful and fraudulent conduct is ongoing and repeated
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     -....J....J
              W     18 litigation to correct its ongoing actions is inefficient for the parties and the Court.
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                    19
                                  WHEREFORE, Downey, Tarzana and the Plaintiff Class pray for and
                    20
                          demand judgment against the Defendants as set forth above and as follows:
                    21
                                  1.      On the First and Second Claims for Relief under RICO, three times the
                    22
                          damages sustained by Plaintiffs and the Plaintiff Class as a result of the fraudulent
                    23
                       and unlawful conduct complained of, such amount to be determined at trial, plus
                    24
                    25 costs and attorneys' fees;
                              2.     On the Third Claim for Relief under ERISA, the Court should
                    26
                    27 specifically order the Defendants:
                                       1) for each member of the Plaintiff Class, for each relevant time period, to
                    28

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                     1              compile a valid database of charges by the particular Plaintiff Class
                                    member and other ASCs in the same geographic area (the distance that
                     2
                                    could reasonably be considered appropriate for a patient to travel in the
                     3              same area);
                     4
                                    2) to calculate past and future benefits pursuant to a valid database that
                     5              takes into account valid data and the UCR factors of the rates charged by
                                    the provider and other ASCs in the same geographic area at the time;
                     6
                     7              3) to determine the UCR rate for out-of-network ASCs without reference
                                    to contracted rates for in-network providers;
                     8

                     9              4) to consider the UCR rate without reference to Medicare rates or
                    10              schedules; and

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              OJ    11              5) to establish a fund to pay the correct UCR amounts to the Plaintiff
uo~«l                               Class members for past services that were underpaid;
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;)E1Il(J)C')        13              6) to pay future claims at the correct UCR rates; and
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                                    7) issue new EOBs for past claims, and correct EOBs for future claims,
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6~~:                15              that are in compliance with applicable regulatory notice standards.
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                               3.      On the Fourth Claim for Relief under ERISA, a judicial declaration that
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                         the Defendants' actions as alleged herein are in violation of their fiduciary duties
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                         and obligations under ERISA, and an injunction requiring them to comply with such
                    19
                         duties and obligations, including providing full and fair review of past and future
                    20
                         claims without resort to the unlawful procedures described herein;
                    21
                               4.      On the Fifth Claim for Relief under California Business & Professions
                    22
                         Code § 17200, permanently enjoining Defendants from engaging in the unfair
                    23
                         business practices complained of, and requiring Defendants to restore to Plaintiffs
                    24
                         and the California Subclass, and otherwise to disgorge, any money that has been
                    25
                         acquired from Plaintiffs and the California Subclass, by means of Defendants'
                    26
                         determination of UCR by use of improper methodologies, as well as any other unfair
                    27
                         business practices;
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 1         5.    Awarding prejudgment interest and costs, including attorneys' fees; and
 2         6.    Awarding such other relief as the Court deems just and proper.


                                       Respectfully submitted,
                                       HOOPER, LUNDY & BOOKMAN, INC.


                                       BY:_-=~~~~-=--                             _
                                                    DARON L. TOOCH
                                       Attorneys for Plaintiffs




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                      1                           DEMAND FOR JURY TRIAL
                     2         Plaintiffs Downey Surgical Clinic, Inc. and Tarzana Surgery Center, Inc., for
                     3 themselves and the Class they represent, demand a jury trial for all claims so triable.
                     4
                     5 DATED: May ~,2010                    HOOPER, LUNDY & BOOKMAN, INC.
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                      7                                     By:_-""""62:::-:::~,-,-,---,--:---=-~--==---.::------,,,--­
                                                                         DARON L. TOOCH
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                     u
                                                            Attorneys for Plaintiffs

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